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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


      UNITED STATES OF AMERICA et al.,

                              Plaintiffs,

                      v.

      DEUTSCHE TELEKOM AG, T-MOBILE
      US, INC., SOFTBANK GROUP CORP.,
      SPRINT CORPORATION, and DISH
      NETWORK CORPORATION,
                                                         Case No.
                              Defendants.
                                                         Filed:


                              [PROPOSED] FINAL JUDGMENT

          WHEREAS, Plaintiffs, United States of America and the States of Kansas, Nebraska,

Ohio, Oklahoma, and South Dakota (“Plaintiff States”), filed their Complaint on July 26, 2019,

the Plaintiffs and Defendants Deutsche Telekom AG, T-Mobile US, Inc., SoftBank Group Corp.,

and Sprint Corp., by their respective attorneys, have consented to the entry of this Final

Judgment without trial or adjudication of any issue of fact or law, and without this Final

Judgment constituting any evidence against or admission by any party regarding any issue of fact

or law;

          AND WHEREAS, pursuant to a Stipulation and Order among Deutsche Telekom AG, T-

Mobile US, Inc., SoftBank Group Corp., Sprint Corp., and DISH Network Corp. (collectively,

“Defendants”) and the United States, the Court has joined DISH Network Corp. as a defendant to

this action for the purposes of settlement and for the entry of this Final Judgment;
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       AND WHEREAS, Defendants agree to be bound by the provisions of this Final

Judgment pending its approval by the Court;

       AND WHEREAS, the purpose of this Final Judgment is to preserve competition by

enabling the entry of another national facilities-based mobile wireless network operator;

       AND WHEREAS, Plaintiffs require Divesting Defendants to make certain divestitures

for the purpose of remedying the loss of competition alleged in the Complaint;

       AND WHEREAS, Defendants have represented to Plaintiffs that the divestitures and

other relief required by this Final Judgment can and will be made and carried out, and that

Defendants will not later raise any claim of hardship or difficulty as grounds for asking the Court

to modify any of the provisions contained below;

       NOW THEREFORE, before any testimony is taken, without trial or adjudication of any

issue of fact or law, and upon consent of the parties, it is ORDERED, ADJUDGED, AND

DECREED:

                                     I.   JURISDICTION

       The Court has jurisdiction over the subject matter of and each of the parties to this action.

The Complaint states a claim upon which relief may be granted against Divesting Defendants

and Parent Defendants under Section 7 of the Clayton Act, 15 U.S.C. § 18. Pursuant to the

Stipulation and Order filed simultaneously with this Final Judgment joining DISH as a defendant

to this action, DISH has consented to this Court’s exercise of specific personal jurisdiction over

DISH in this matter solely for the purposes of settlement and for the entry and enforcement of

the Final Judgment.



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                                      II.   DEFINITIONS

       As used in this Final Judgment:

       A.      “Acquiring Defendant” or “Acquirer” or “DISH” mean Defendant DISH Network

Corporation, a Nevada corporation with its headquarters in Englewood, Colorado; its successors

and assigns; and its subsidiaries, divisions, groups, affiliates, partnerships, and joint ventures,

and their directors, officers, managers, agents, and employees.

       B.      “Assurance Wireless” means the prepaid wireless business conducted by Virgin

Mobile under the Assurance Lifeline brand.

       C.      “Cell Site” or “Tower Site” mean any wireless communications towers, rooftops,

water towers, or other wireless communications facilities owned or leased by Divesting Defendants

and the physical location and wireless equipment thereto.

       D.      “Decommissioned” or “Decommissioning” means, with respect to a Cell Site,

when the Cell Site is no longer transmitting on Divesting Defendants’ networks. With respect to

Retail Locations, Decommissioned or Decommissioning means when Divesting Defendants

cease customer service operations.

       E.      “Deutsche Telekom” means Deutsche Telekom AG, a German corporation

headquartered in Bonn, Germany, that is the controlling shareholder of T-Mobile; its successors

and assigns; and its parents, subsidiaries, divisions, groups, affiliates, partnerships, and joint

ventures, and their directors, officers, managers, agents, and employees.

       F.      “Divesting Defendants” means T-Mobile and Sprint.

       G.      “Divestiture Assets” means the Prepaid Assets, the 800 MHz Spectrum Licenses,

the Decommissioned Retail Locations, and the Decommissioned Cell Sites.

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        H.         “Fifth Generation Broadband Services” or “5G Services” means at least 3GPP

Release 15, capable of providing enhanced mobile broadband (eMBB) functionality.

        I.         “Full MVNO Agreement” means an agreement that (1) provides the Acquiring

Defendant the ability to sell retail mobile wireless services as an MVNO using the Divesting

Defendants’ wireless networks, (2) provides Acquiring Defendant the option to deploy its own

core network with all associated service platforms to be offered in combination with services

provided by Divesting Defendants’ wireless networks, and (3) requires Divesting Defendants to

provide network connectivity between Divesting Defendants and Acquiring Defendant’s network

for all traffic.

        J.         “MVNO” means a mobile virtual network operator, such as TracFone and Google

Fi, that obtains network access from facilities-based providers like T-Mobile and Sprint and

resells that mobile wireless service to consumers under its own brand name.

        K.         “Parent Defendants” means Deutsche Telekom and SoftBank.

        L.         “Prepaid Assets” means all tangible and intangible assets primarily used by the

Boost Mobile, Sprint-branded prepaid, and Virgin Mobile businesses today, including but not

limited to Boost and Virgin Mobile Retail Locations, licenses, personnel, facilities, data, and

intellectual property, as well as all relationships and/or contracts with prepaid customers served

by Sprint, Boost Mobile, and Virgin Mobile. Prepaid Assets do not include the Assurance

Wireless business and the prepaid wireless customers of Shenandoah Telecommunications

Company and Swiftel Communications, Inc.

        M.         “Prepaid Assets Personnel” means all employees whose jobs currently focus on

the support of the Prepaid Assets, or whose jobs have previously focused on supporting the

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Prepaid Assets at any time between January 1, 2016 and the date on which the Prepaid Assets are

divested to the Acquirer. Prepaid Assets Personnel shall include no fewer than 400 current

employees of the Divesting Defendants, which shall include employees involved in sales

management, marketing management, distribution support, sales support, and finance.

       N.      “Retail Locations” means any retail locations owned or operated by Divesting

Defendants and from which either T-Mobile or Sprint sells mobile wireless service under any of

their affiliated brands, including Sprint, Boost Mobile, Virgin Mobile, T-Mobile, Metro by

T-Mobile, and MetroPCS.

       O.      “800 MHz Spectrum Licenses” means all of Sprint’s 800 MHz spectrum holdings

as listed and described in Attachment A to this Final Judgment.

       P.      “600 MHz Spectrum Licenses” means all of DISH’s 600 MHz spectrum holdings

as listed and described in Attachment B to this Final Judgment.

       Q.      “SoftBank” means SoftBank Group Corp., a Japanese corporation and controlling

shareholder of Sprint; its successors and assigns; and its parents, subsidiaries, divisions, groups,

affiliates, partnerships, and joint ventures, and their directors, officers, managers, agents, and

employees.

       R.      “Sprint” means Defendant Sprint Corporation, a Delaware corporation with its

headquarters in Overland Park, Kansas; its successors and assigns; and its subsidiaries, divisions,

groups, affiliates (other than SoftBank), partnerships, and joint ventures, and their directors,

officers, managers, agents, and employees.

       S.      “T-Mobile” means Defendant T-Mobile US, Inc., a Delaware corporation with its

headquarters in Bellevue, Washington; its successors and assigns; and its subsidiaries, divisions,

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groups, affiliates (other than Deutsche Telekom), partnerships, and joint ventures, and their

directors, officers, managers, agents, and employees.

                                  III.   APPLICABILITY

       A.      This Final Judgment applies to the Divesting Defendants, Parent Defendants, and

Acquiring Defendant, as defined above, and all other persons in active concert or participation

with any of them who receive actual notice of this Final Judgment by personal service or

otherwise.

       B.      If any of the terms of an agreement between (i) Divesting Defendants and the

Acquiring Defendant to effectuate the divestitures required by the Final Judgment or (ii)

Defendants and the Federal Communications Commission (FCC) to effectuate the divestitures

required by the Final Judgment varies from the terms of this Final Judgment then, to the extent

that Defendants cannot fully comply with both terms due to a conflict between the terms, this

Final Judgment will determine Defendants’ obligations. Provided, however, that if there is an

inconsistency between this Final Judgment and any commitment any of the Defendants have

made to the FCC, the more stringent obligations will control.

                                   IV.   DIVESTITURES

       A.      Prepaid Assets

               1.    The Divesting Defendants shall take all actions required to enable

       Acquiring Defendant to have, within ninety (90) days after notice of the entry of this

       Final Judgment by the Court, the ability to provision any new or existing customer of the

       Prepaid Assets holding a compatible handset device onto the T-Mobile network pursuant

       to the terms of any Full MVNO Agreement. Divesting Defendants are ordered and

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directed, not more than fifteen (15) days after Divesting Defendants can provide

Acquiring Defendant the ability to provision any new or existing customer of the Prepaid

Assets holding a compatible handset device onto the T-Mobile network pursuant to the

terms of any Full MVNO Agreement, or the first business day of the month following the

later of the consummation of the merger of T-Mobile and Sprint and the receipt of any

approvals required for the divestiture of the Prepaid Assets from the FCC and any

material state public utility commission, or five (5) calendar days after notice of the entry

of this Final Judgment by the Court, whichever is later, to divest the Prepaid Assets to

Acquiring Defendant in a manner acceptable to the United States, in its sole discretion.

       2.     Employees

              a.       Within ten (10) business days following the filing of the Complaint

       in this matter, Divesting Defendants shall provide to Acquiring Defendant, the

       United States, the Plaintiff States, and the Monitoring Trustee, organization charts

       covering all Prepaid Assets Personnel for each year from January 1, 2016 to

       present. Within ten (10) business days of receiving a request from Acquiring

       Defendant, Divesting Defendants shall provide to Acquiring Defendant, the

       United States, the Plaintiff States, and the Monitoring Trustee, additional

       information related to identified Prepaid Assets Personnel, including name, job

       title, reporting relationships, past experience, responsibilities from January 1,

       2016 through the date on which the Prepaid Assets are transferred to Acquirer,

       training and educational history, relevant certifications, job performance

       evaluations, and current salary and benefits information to enable Acquiring

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  Defendant to make offers of employment. If Divesting Defendants are barred by

  any applicable laws from providing any of this information to Acquiring

  Defendant, within ten (10) business days of receiving Acquiring Defendant’s

  request, Divesting Defendants will provide the requested information to the

  greatest extent possible under applicable laws and also provide a written

  explanation of their inability to comply fully with Acquiring Defendant’s request

  for information regarding Prepaid Assets Personnel.

        b.       Upon request, Divesting Defendants shall make Prepaid Assets

  Personnel available for interviews with Acquiring Defendant during normal

  business hours at a mutually agreeable location. Divesting Defendants will not

  interfere with any negotiations by Acquiring Defendant to employ any Prepaid

  Assets Personnel. Interference includes but is not limited to offering to increase

  the salary or benefits of or offering bonuses to Prepaid Assets Personnel other

  than as part of a company-wide increase in salary or benefits or company-wide

  provision of bonuses granted in the ordinary course of business. If Divesting

  Defendants have offered Prepaid Assets Personnel incentives to remain employed

  with Divesting Defendants until a certain date (e.g., retention bonuses), Divesting

  Defendants must warrant to those Prepaid Assets Personnel and the Acquiring

  Defendant that the Prepaid Assets Personnel will receive all promised incentives

  if they accept an offer of employment with the Acquiring Defendant and remain

  employed with the Acquiring Defendant until the date contemplated by the



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  originally agreed-upon incentive. Divesting Defendants shall be responsible for

  reimbursing Acquiring Defendant the costs associated with such incentives.

        c.       For any Prepaid Assets Personnel who elect employment with

  Acquiring Defendant, Divesting Defendants shall waive all non-compete and non-

  disclosure agreements, vest all unvested pension and other equity rights, and

  provide all benefits to which Prepaid Assets Personnel would be provided if

  transferred to a buyer of an ongoing business.

        d.       For a period of two (2) years from the date of filing of the

  Complaint in this matter, Divesting Defendants may not solicit to hire, or hire,

  any Prepaid Assets Personnel who was hired by Acquiring Defendant, unless (a)

  such individual is terminated or laid off by Acquiring Defendant or (b) Acquiring

  Defendant agrees in writing that Divesting Defendants may solicit or hire that

  individual.

        e.       Nothing in this Section prohibits Divesting Defendants from

  maintaining any reasonable restrictions on the disclosure by any employee who

  accepts an offer of employment with Acquiring Defendant of Divesting

  Defendants’ proprietary non-public information that is (a) not otherwise required

  to be disclosed by this Final Judgment, (b) related solely to Divesting Defendant’s

  businesses and clients, and (c) unrelated to the Divestiture Assets.

        f.       Acquiring Defendant’s right to hire Prepaid Assets Personnel

  pursuant to Paragraph IV(A)(2) and Divesting Defendants’ obligations under



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       Paragraphs IV(A)(2)(a)-(c) lasts for a period of one hundred and eighty (180)

       days after the closing of the divestiture of the Prepaid Assets.

       3.     Divesting Defendants shall warrant to Acquiring Defendant that the

Prepaid Assets will be fully operational on the date of transfer.

       4.     At the option of Acquiring Defendant, Divesting Defendants shall enter

into one or more transition services agreements to provide billing, customer care, SIM

card procurement, device provisioning, and all other services used by the Prepaid Assets

prior to the date of their transfer to Acquirer for an initial period of up to two (2) years

after the transfer of the Prepaid Assets. During the initial two-year term of the

agreement, Divesting Defendants shall provide the transition services at no greater than

cost to Acquiring Defendant. All other terms and conditions of any such agreement must

be reasonably related to market conditions for the provision of the relevant services and

must be acceptable to the United States in its sole discretion, after consultation with the

affected Plaintiff States. Upon Acquiring Defendant’s request, the United States, in its

sole discretion, after consultation with the affected Plaintiff States, may approve one or

more extensions of such agreement(s) for a total of up to an additional one (1) year.

       5.     At Acquiring Defendant’s option, on or before the divestiture of the

Prepaid Assets, Divesting Defendants shall assign or otherwise transfer to Acquiring

Defendant all transferable or assignable agreements, or any assignable portions thereof,

related to the Prepaid Assets, including, but not limited to, all supply contracts, licenses,

and collaborations. Divesting Defendants shall use best efforts to expeditiously obtain

from any third parties any consent necessary to transfer or assign to Acquiring Defendant

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all agreements related to the Prepaid Assets. To the extent consent cannot be obtained

and the agreement is not otherwise assignable, Divesting Defendants shall use best efforts

to obtain or provide for Acquiring Defendant, as expeditiously as possible, the full

benefits of any such agreement as it relates to the Prepaid Assets by assisting Acquiring

Defendant to secure a new agreement and by taking any other steps necessary to ensure

that Acquiring Defendant obtains the full benefit of the agreement as it relates to the

Prepaid Assets. Divesting Defendants will not assert, directly or indirectly, any legal

claim that would interfere with Acquiring Defendant’s ability to obtain the full benefit

from any transferred third-party agreement to the same extent enjoyed by Divesting

Defendant prior to the transfer.

        6.     At Acquiring Defendant’s option, on or before the divestiture of the

Prepaid Assets, Divesting Defendants shall provide contact information and make

introductions to distributors and suppliers that support the Prepaid Assets. Divesting

Defendants shall not interfere with Acquiring Defendant’s attempts to negotiate with

these distributors or suppliers.

B.      800 MHz Spectrum License Transfer

        1.     Divesting Defendants are ordered and directed, within three (3) years after

the closing of the divestiture of the Prepaid Assets or within five (5) business days of the

approval by the FCC of the transfer of the 800 MHz Spectrum Licenses, whichever is

later, to divest the 800 MHz Spectrum Licenses in a manner acceptable to the United

States, in its sole discretion, after consultation with the affected Plaintiff States. The

United States, in its sole discretion, after consultation with the affected Plaintiff States,

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may agree to one or more extensions of this time period not to exceed sixty (60) calendar

days in total, and will notify the Court in such circumstances. Acquiring Defendant will

make timely application to the FCC for the transfer of the spectrum to comply with this

Paragraph.

       2.     Acquiring Defendant shall pay a penalty of $360,000,000 to the United

States if it elects not to purchase the 800 MHz Spectrum Licenses. The Acquiring

Defendant shall pay the penalty within thirty (30) days of declining to purchase the 800

MHz Spectrum Licenses. Notwithstanding the foregoing, the Acquiring Defendant will

not be required to pay such penalty if it has deployed a core network and offered 5G

Service to at least 20% of the U.S. population over DISH’s facilities-based network

within three (3) years of the closing of the divestiture of the Prepaid Assets.

       3.     If, at the expiration of this Final Judgment, Acquiring Defendant has

acquired the 800 MHz Spectrum Licenses, but has not deployed all of the 800 MHz

Spectrum Licenses for use in the provision of retail mobile wireless services, Acquiring

Defendant shall forfeit to the FCC, at the United States’ sole discretion, after consultation

with the affected Plaintiff States, all of the 800 MHz Spectrum Licenses that are not

being used to provide retail mobile wireless services, unless Acquiring Defendant already

is providing nationwide retail mobile wireless services over DISH’s facilities-based

network.

       4.     If the Acquiring Defendant does not purchase the 800 MHz Spectrum

Licenses, Divesting Defendants shall conduct an auction of the 800 MHz Spectrum

Licenses within six (6) months of Acquiring Defendant declining to purchase the

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licenses. In such auction, Divesting Defendants will not divest the 800 MHz Spectrum

Licenses to any other national facilities-based mobile wireless network operator, without

the prior written approval of the United States, in its sole discretion, after consultation

with the affected Plaintiff States, and will not be required to divest the 800 MHz

Spectrum Licenses at a price that is lower than the price the Acquiring Defendant

originally agreed to pay for such licenses. In addition, Divesting Defendants may apply

to the United States to be relieved from the commitment to sell the 800 MHz Spectrum

Licenses if (i) Acquiring Defendant declines to purchase the 800 MHz Spectrum License

and (ii) the sale of the 800 MHz Spectrum Licenses is no longer needed fully to remedy

the competitive harms of the merger, as determined by the United States in its sole

discretion, after consultation with the affected Plaintiff States.

C.      Decommissioned Cell Sites

        1.    Divesting Defendants shall make all Cell Sites Decommissioned by

Divesting Defendants within five (5) years of the closing of the divestiture of the Prepaid

Assets, which shall not be fewer than 20,000 Cell Sites, available to Acquiring Defendant

immediately after such Decommissioning.

        2.    Divesting Defendants shall provide, no later than the closing of the Prepaid

Assets divestiture, the Acquiring Defendant and Monitoring Trustee with a detailed

schedule identifying, over the next five (5) years: (i) each Cell Site that the Divesting

Defendants plan to Decommission; (ii) the forecasted date for Decommissioning; and

(iii) whether a given Cell Site is freely transferrable. For a period of five (5) years

following the closing of the divestiture of the Prepaid Assets, on the first day of each

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month Divesting Defendants shall submit to the Acquiring Defendant and Monitoring

Trustee updated Cell Site Decommissioning schedules that include a rolling monthly

forecast projected out two hundred and seventy (270) days. All forecasted

Decommissionings within one hundred and eighty (180) days will be binding, subject to

any mandatory restrictions on transfer imposed by federal or state law, unless the

Monitoring Trustee determines that the Decommissioning was changed for good cause,

and the changes and justifications are reported by the Divesting Defendants to the United

States.

          3.   Divesting Defendants are ordered to pay to the United States, within ninety

(90) days following the end of each fiscal quarter, $50,000 multiplied by the total number

of Cell Sites in excess of two (2) percent of Cell Sites in any 180-day Cell Site forecast:

(a) for which the Acquiring Defendant exercised its option to acquire such Cell Site that

was Decommissioned more than ten (10) days after the date forecasted in the 180-day

Cell Site forecast or (b) that were Decommissioned but did not appear on any 180-day

Cell Site forecast. If Divesting Defendants are incorrect, and have not cured within ten

(10) days, on more than ten (10) percent of Cell Sites in any three 180-day Cell Site

forecasts, the penalty shall increase to $100,000 per incorrect Cell Site for which the

Acquiring Defendant exercised its option to acquire such Cell Site starting on the fourth

180-day Cell Site forecast that is incorrect on at least ten (10) percent of Cell Sites and

continuing at that level for any penalties imposed pursuant to this Paragraph. If

Divesting Defendants demonstrate that there was good cause for the forecast to have been

inaccurate with regard to an individual Cell Site, the United States may, in its sole

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discretion, after consultation with the affected Plaintiff States, waive some or all of the

payments.

       4.     Divesting Defendants shall assign or transfer any rights that are assignable

or transferrable and are useful for Acquiring Defendant to deploy infrastructure on the

Decommissioned Cell Sites and will waive or terminate any rights Divesting Defendants

may have to impede or prevent Acquiring Defendant from doing so. Where Divesting

Defendants do not have the right to assign or transfer such rights, Divesting Defendants

will cooperate with Acquiring Defendant in its attempt to obtain the rights.

       5.     Divesting Defendants shall Decommission unnecessary Cell Sites

promptly. Divesting Defendants will vacate a Decommissioned Cell Site as soon as

reasonably possible after the site is no longer in use on any of the Divesting Defendants’

networks. As soon as reasonably possible after making Decommissioned Cell Sites

available to the Acquiring Defendant, Divesting Defendants shall also make any

Decommissioned transport-related equipment (including microwave backhaul gear and

network switches) on such cell sites available for purchase by the Acquiring Defendant.

If the Monitoring Trustee determines that Divesting Defendants have not complied with

this Paragraph, the Monitoring Trustee may recommend and the United States may

impose a fine of up to $50,000 per Cell Site per week for which Acquiring Defendant

exercised its option to acquire such Cell Site or transport-related equipment for any

violation.

       6.     Subject to the terms and conditions of the applicable lease or easement for

such Cell Site, Divesting Defendants shall provide Acquiring Defendant reasonable

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       access to inspect Decommissioned Cell Sites prior to the deadline for Acquiring

       Defendant to exercise its option on the Decommissioned Cell Sites.

       D.      Decommissioned Retail Locations

               1.     Divesting Defendants shall make all assignable or transferrable Retail

       Locations Decommissioned by Divesting Defendants within five (5) years of the closing

       of the divestiture of the Prepaid Assets, which will not be fewer than four hundred (400)

       Retail Locations, available to Acquiring Defendant immediately after such

       Decommissioning.

               2.     Divesting Defendants shall notify Acquiring Defendant of Retail Locations

       that Divesting Defendants plan to Decommission as soon as the locations are identified.

               3.     Divesting Defendants shall waive or terminate any rights they have to

       impede or prevent Acquiring Defendant from using the Retail Locations.

               4.     Subject to the terms and conditions of the applicable lease for such Retail

       Location, Divesting Defendants shall provide Acquiring Defendant reasonable access to

       inspect Decommissioned Retail Locations prior to the deadline for Acquiring Defendant

       to exercise its option on the Decommissioned Retail Locations.

       E.      Unless the United States otherwise consents in writing or the Acquiring

Defendant declines its option to purchase certain Decommissioned Cell Sites or

Decommissioned Retail Locations, the divestitures pursuant to this Final Judgment will include

the entire Divestiture Assets. The divestitures will be accomplished in such a way as to satisfy

the United States, in its sole discretion, that the Divestiture Assets can and will be used by

Acquiring Defendant as part of a viable, ongoing operation relating to the provision of retail

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mobile wireless service. The divestitures will be accomplished so as to satisfy the United States,

in its sole discretion, that none of the terms of any agreement between Acquiring Defendant and

Divesting Defendants gives the Divesting Defendants the ability unreasonably to raise the

Acquiring Defendant’s costs, to lower the Acquiring Defendant’s efficiency, or otherwise to

interfere with the ability of the Acquiring Defendant to compete.

       F.      Acquiring Defendant shall use the Divestiture Assets to offer retail mobile

wireless services, including offering nationwide postpaid retail mobile wireless service within

one (1) year of the closing of the sale of the Prepaid Assets.

       G.      Divesting Defendants shall not take any action that will impede in any way the

permitting, operation, or divestiture of the Divestiture Assets.

       H.      Divesting Defendants shall warrant to Acquiring Defendant (1) that there are no

material defects known to the Divesting Defendants in the environmental, zoning, or other

permits pertaining to the operation of the Divestiture Assets, (2) that following the sale of the

Divestiture Assets, Divesting Defendants will not undertake, directly or indirectly, any

challenges to the environmental, zoning, or other permits relating to the operation of the

Divestiture Assets in a manner adverse to the Acquiring Defendant, and (3) that the Divestiture

Assets will be capable of full operation on the date of transfer. For purposes of this Paragraph,

the Divestiture Assets shall not include any Decommissioned Cell Sites or Decommissioned

Retail Locations as to which the Acquiring Defendant declined its option to acquire the assets.

       I.      For a period of up to one (1) year following the divestiture closing, if the

Acquiring Defendant determines that any assets not included in the Divestiture Assets were

previously used by the divested business and are reasonably necessary for the continued

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competitiveness of the Divestiture Assets, it shall notify the United States, the Plaintiff States,

and the Divesting Defendants in writing that it requires such assets. Provided, however, that

such assets shall not include any tangible or intangible wireless network or spectrum assets

(except as provided herein), or any tangible or intangible IT assets or software licenses used by

the remaining Sprint business. The United States, in its sole discretion, after consultation with

the affected Plaintiff States, taking into account Acquiring Defendant’s assets and business, shall

determine whether any of the assets identified should be divested to Acquiring Defendant. If the

United States determines that such assets should be divested, Divesting Defendants and

Acquiring Defendant will negotiate an agreement within thirty (30) calendar days providing for

the divestiture of such assets in a period to be determined by the United States in consultation

with the affected Plaintiff States and Divesting Defendants and Acquiring Defendant.

                        V.      600 MHz SPECTRUM DEPLOYMENT

       A.      Acquiring Defendant and Divesting Defendants agree to negotiate in good faith to

reach an agreement for Divesting Defendants to lease some or all of Acquiring Defendant’s 600

MHz Spectrum Licenses for deployment to retail consumers by Divesting Defendants.

Defendants shall report to the Monitoring Trustee within ninety (90) days after the filing of this

Final Judgment regarding the status of these negotiations. If, at the end of one hundred and

eighty (180) days, Defendants have not reached an agreement to lease some or all of Acquiring

Defendant’s 600 MHz Spectrum Licenses for deployment by Divesting Defendants and use by

retail consumers, the Monitoring Trustee shall report to the United States, which may then

resolve any dispute at the United States’ sole discretion, provided such resolution shall be based

on commercially reasonable and mutually beneficial terms for both parties, recognizing that the

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lease(s) must be for a sufficient period of time for Divesting Defendants to make adequate

commercial use of the 600 MHz Spectrum Licenses.

               VI.    FULL MOBILE VIRTUAL NETWORK OPERATOR

        A.      Divesting Defendants and Acquiring Defendant shall enter into a Full MVNO

Agreement for a term of no fewer than seven (7) years. The terms and conditions of the

Acquiring Defendant’s use of Divesting Defendants’ wireless networks pursuant to any Full

MVNO Agreement shall be commercially reasonable and must be acceptable to the United

States, in its sole discretion, after consultation with the affected Plaintiff States.

        B.      In carrying out its obligations under any Full MVNO Agreement, Divesting

Defendants:

                1.     shall not reject any of Acquiring Defendant’s lawful traffic, unless

        authorized to do so by any Full MVNO Agreement and accepted by the United States, in

        its sole discretion, after consultation with the affected Plaintiff States;

                2.     shall not unreasonably discriminate against Acquiring Defendant or

        Acquiring Defendant’s subscribers, including by blocking, throttling, or otherwise

        deprioritizing the Acquiring Defendant’s customers differently than Divesting

        Defendants’ own similarly situated customers, unless authorized to do so by any Full

        MVNO Agreement;

                3.     shall use reasonable best efforts to provide Acquiring Defendant all

        operational support required for Acquiring Defendant’s customers (including, but not

        limited to, customers of the Prepaid Assets) to be able to use the Divesting Defendants’

        wireless networks;

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               4.     shall not unreasonably refuse to allow any device used by Acquiring

       Defendant’s customers to access the Divesting Defendants’ wireless networks, or

       otherwise unreasonably refuse to approve or support any such devices, and shall approve

       such devices for use upon request as soon as reasonably practicable, and shall use

       commercially reasonable efforts to provide technical support or other assistance to the

       Acquiring Defendant as requested to facilitate approval of any devices for use on

       Divesting Defendants’ wireless networks;

               5.     shall configure its wireless network as necessary to enable the provision of

       handover mobility for the Acquiring Defendant’s customers in the boundary areas

       between the Acquiring Defendant’s network, built out in contiguous coverage areas (e.g.,

       city-wide coverage), and the Divesting Defendants’ wireless networks; and

               6.     shall not otherwise unreasonably delay, impede, or frustrate Acquiring

       Defendant’s ability to use any Full MVNO Agreement and the Divesting Defendants’

       networks to become a nationwide facilities-based retail mobile wireless services provider.

        VII.   MOBILE VIRTUAL NETWORK OPERATOR COMPETITION

       A.      Divesting Defendants shall abide by all terms of their existing MVNO

agreements. Divesting Defendants shall agree to extend existing MVNO agreements on their

existing terms (other than any “most favored nation” provisions) until the expiration of this Final

Judgment unless the Divesting Defendants demonstrate to the Monitoring Trustee that doing so

will result in a material adverse effect, other than as a result of competition, on the Divesting

Defendants’ ongoing business. For the avoidance of doubt, Divesting Defendants are not

required to extend any MVNO agreements beyond the expiration of this Final Judgment or any

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existing infrastructure-based MVNO agreement that includes a reciprocal facility sharing

arrangement unless it includes a mutually beneficial reciprocal facility sharing arrangement for

the duration of the MVNO agreement. Any disputes arising from the negotiation of an

agreement pursuant to this Paragraph shall be resolved by the United States in its sole discretion.

       B.        Divesting Defendants and Acquiring Defendant agree to support eSIM

technology on smartphones, including working with handset equipment manufacturers to support

eSIM-capable phones to the extent such phones are technically capable of operating on Divesting

Defendants or Acquiring Defendant’s wireless networks.

       C.        Divesting Defendants and Acquiring Defendant shall not discriminate against

devices for the reason that the device uses remote SIM provisioning and eSIM technology to

connect to the Defendants’ wireless networks. Examples of discrimination would include, but

are not limited to, refusing to sell a device because it contains or uses an eSIM, and refusing to

certify for network access a device because it uses an eSIM, but discrimination would not

include the application of the Defendant’s generally applicable device-locking policies to devices

sold or leased by Defendant, provided that the locking policy is consistent with Paragraph

VII(F), below.

       D.        Divesting Defendants and Acquiring Defendant shall not discriminate against

devices for the reason that the device allows multiple active profiles or for the reason that the

device allows automatic switching between those profiles. Examples of discrimination would

include, but are not limited to, refusing to sell a device because it has these functions, and

refusing to certify for network access a device because it has these functions. For avoidance of

doubt, nothing contained in this provision will prohibit Defendants from exercising discretion to

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determine whether a device or technology will harm or impede the operation of their respective

wireless networks.

       E.       Divesting Defendants and Acquiring Defendant shall make their network plans

available to consumers who use on-screen selection software or applications from devices

capable of being remotely provisioned on the same terms as offered to other consumers in that

geographic area. This provision will apply to any device that is the same make and model as any

device Defendants sell or otherwise certify for network access.

       F.       Divesting Defendants and Acquiring Defendant agree to abide by the following

unlocking principles for all methods of locking (including any limitation on the use of an eSIM

to switch between profiles) for any postpaid or prepaid mobile wireless device that they lock to

their network: (i) Divesting Defendants and Acquiring Defendant will post on their respective

websites their clear, concise, and readily accessible policies on postpaid and prepaid mobile

device unlocking; (ii) Divesting Defendants and Acquiring Defendant will unlock mobile

wireless devices for their customers and former customers in good standing and individual

owners of eligible devices after the fulfillment of the applicable postpaid service contract, device

financing plan, or payment of applicable early termination fee; (iii) Divesting Defendants and

Acquiring Defendant will unlock prepaid mobile wireless devices no later than one (1) year after

initial activation, consistent with reasonable time, payment, or usage requirements; and (iv)

Divesting Defendants and Acquiring Defendant will automatically unlock devices remotely

within two (2) business days of devices becoming eligible for unlocking, and without additional

fee, provided, however, that if not technically possible to automatically unlock devices remotely,



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Divesting Defendants and Acquiring Defendant shall instead provide immediate notice to

consumers that the devices are eligible to be unlocked.

               VIII.    FACILITIES-BASED EXPANSION AND ENTRY

       A.      Divesting Defendants shall comply with all network build commitments made to

the FCC related to the merger of T-Mobile and Sprint or the divestiture to Acquiring Defendant

as of the date of entry of this Final Judgment, subject to verification by the FCC. Acquiring

Defendant shall comply with the June 14, 2023 AWS-4, 700 MHz, H Block, and Nationwide 5G

Broadband network build commitments made to the FCC as of the date of entry of this Final

Judgment, subject to verification by the FCC. Defendants shall provide to the United States and

the Plaintiff States copies of any reports or submissions to the FCC that are associated with any

FCC order(s) within three (3) business days of submission to the FCC.

       B.      Divesting Defendants shall not interfere with Acquiring Defendant’s efforts to

deploy a nationwide facilities-based mobile wireless network, or to operate that network.

Acquiring Defendant shall use its best efforts to serve subscribers over its facilities-based

wireless network rather than over Divesting Defendants’ wireless networks.

       C.      On the first day of the first fiscal quarter following the entry of this Final

Judgment and every one hundred and eighty (180) days thereafter, Acquiring Defendant shall

submit to the United States and the Plaintiff States an update on the status of its wireless network

deployment. This update will include a description of Acquiring Defendant’s deployment efforts

since Acquiring Defendant’s last report, including (a) the number of towers and small cells

deployed by Acquiring Defendant; (b) the spectrum bands over which Acquiring Defendant has

deployed equipment; (c) Acquiring Defendant’s progress in obtaining subscriber devices that

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operate on each of its licensed spectrum bands; (d) the percentage of the population of the United

States covered by Acquiring Defendant’s wireless network; (e) the number of mobile wireless

subscribers served by Acquiring Defendant; (f) the amount of traffic transmitted to and from

these subscribers over Acquiring Defendant’s facilities-based wireless network; (g) the amount

of traffic transmitted to and from these subscribers over Divesting Defendants’ network pursuant

to a Full MVNO Agreement; and (h) any efforts by Divesting Defendants to interfere with

Acquiring Defendant’s efforts to deploy and operate its facilities-based wireless network.

                                      IX.    FINANCING

         Divesting Defendants and Parent Defendants shall not finance any part of any purchase

made pursuant to this Final Judgment, unless the United States approves such financing in its

sole discretion.

                              X.    STIPULATION AND ORDER

         Until the divestitures required by this Final Judgment have been accomplished, Divesting

Defendants shall take all steps necessary to comply with the Stipulation and Order entered by the

Court. Defendants shall take no action that would jeopardize the divestiture ordered by the

Court.

                                      XI.    AFFIDAVITS

         A.      Within twenty (20) calendar days of the filing of the Complaint in this matter,

Divesting Defendants shall deliver to the United States and the Plaintiff States an affidavit that

describes in reasonable detail all actions Divesting Defendants have taken and all steps Divesting

Defendants have implemented on an ongoing basis to comply with Section X of this Final

Judgment. Divesting Defendants shall deliver to the United States and the Plaintiff States an

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affidavit describing any changes to the efforts and actions outlined in Divesting Defendants’

earlier affidavits filed pursuant to this Section within fifteen (15) calendar days after the change

is implemented.

         B.      Divesting Defendants shall keep all records of all efforts made to preserve and

divest the Divestiture Assets until one (1) year after such divestiture has been completed.

                  XII.    APPOINTMENT OF MONITORING TRUSTEE

         A.      Upon application of the United States, after consultation with the Plaintiff States,

the Court shall appoint a Monitoring Trustee selected by the United States and approved by the

Court.

         B.      The Monitoring Trustee shall have the power and authority to monitor

Defendants’ compliance with the terms of this Final Judgment and the Stipulation and Order

entered by the Court, and shall have such other powers as the Court deems appropriate. The

Monitoring Trustee shall be required to investigate and report on the Defendants’ compliance

with this Final Judgment and the Stipulation and Order, and the Defendants’ progress toward

effectuating the purposes of this Final Judgment, including but not limited to: Divesting

Defendants’ sale of the Divestiture Assets, Divesting Defendants’ compliance with its

requirements to make Cell Sites and Retail Locations available to Acquiring Defendant, and

Acquiring Defendant’s progress toward using the Divestiture Assets and other company assets to

operate a retail mobile wireless network.

         C.      Subject to Paragraph XII(E) of this Final Judgment, the Monitoring Trustee may

hire at the cost and expense of Divesting Defendants any agents, investment bankers, attorneys,

accountants, or consultants, who will be solely accountable to the Monitoring Trustee,

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reasonably necessary in the Monitoring Trustee’s judgment. Any such agents or consultants

shall serve on such terms and conditions as the United States approves, including confidentiality

requirements and conflict of interest certifications.

       D.       Defendants shall not object to actions taken by the Monitoring Trustee in

fulfillment of the Monitoring Trustee’s responsibilities under any Order of the Court on any

ground other than the Monitoring Trustee’s malfeasance. Any such objections by Defendants

must be conveyed in writing to the United States and the Monitoring Trustee within ten (10)

calendar days after the action taken by the Monitoring Trustee giving rise to Defendants’

objection.

       E.       The Monitoring Trustee shall serve at the cost and expense of Divesting

Defendants pursuant to a written agreement with Divesting Defendants and on such terms and

conditions as the United States approves, including confidentiality requirements and conflict of

interest certifications. The compensation of the Monitoring Trustee and any agents or

consultants retained by the Monitoring Trustee shall be on reasonable and customary terms

commensurate with the individuals’ experience and responsibilities. If the Monitoring Trustee

and Divesting Defendants are unable to reach agreement on the Monitoring Trustee’s or any

agents’ or consultants’ compensation or other terms and conditions of engagement within

fourteen (14) calendar days of the appointment of the Monitoring Trustee, the United States may,

in its sole discretion, take appropriate action, including making a recommendation to the Court.

The Monitoring Trustee shall, within three (3) business days of hiring any agents or consultants,

provide written notice of such hiring and the rate of compensation to Divesting Defendants and

the United States.

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       F.      The Monitoring Trustee shall have no responsibility or obligation for the

operation of Defendants’ businesses.

       G.      Defendants shall use their best efforts to assist the Monitoring Trustee in

monitoring Defendants’ compliance with their individual obligations under this Final Judgment

and under the Stipulation and Order. The Monitoring Trustee and any agents or consultants

retained by the Monitoring Trustee shall have full and complete access to the personnel, books,

records, and facilities relating to compliance with this Final Judgment, subject to reasonable

protection for trade secrets; other confidential research, development, or commercial

information; or any applicable privileges. Defendants shall take no action to interfere with or to

impede the Monitoring Trustee’s accomplishment of its responsibilities.

       H.      After its appointment, the Monitoring Trustee shall file reports monthly, or more

frequently as needed, with the United States setting forth Defendants’ efforts to comply with

Defendants’ obligations under this Final Judgment and under the Stipulation and Order. To the

extent such reports contain information that the Monitoring Trustee deems confidential, such

reports will not be filed in the public docket of the Court.

       I.      The Monitoring Trustee shall serve until the divestiture of all the Divestiture

Assets is finalized pursuant to this Final Judgment, until the buildout requirements are complete

pursuant to Section VIII of this Final Judgment, until any Full MVNO Agreement expires or

otherwise terminates, or until the term of any transition services agreement pursuant to Paragraph

IV(A)(4) of this Final Judgment has expired, whichever is later.




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       J.      If the United States determines that the Monitoring Trustee has ceased to act or

failed to act diligently or in a reasonably cost-effective manner, it may recommend that the Court

appoint a substitute Monitoring Trustee.

                                    XIII.    FIREWALL

       A.      During the term of this Final Judgment, the Divesting Defendants and Acquiring

Defendant shall implement and maintain reasonable procedures to prevent competitively

sensitive information from being disclosed by or through implementation and execution of the

obligations in this agreement or any associated agreements to components or individuals within

the respective companies involved in the marketing, distribution, or sale of competing products.

       B.      Divesting Defendants and Acquiring Defendant each shall, within thirty (30)

business days of the entry of the Stipulation and Order, submit to the United States, the Plaintiff

States, and the Monitoring Trustee a document setting forth in detail the procedures implemented

to effect compliance with this Section. Upon receipt of the document, the United States shall

inform Divesting Defendants and Acquiring Defendant within thirty (30) business days whether,

in its sole discretion, it approves of or rejects each party’s compliance plan. In the event that

Divesting Defendants’ or Acquiring Defendant’s compliance plan is rejected, the United States

shall provide Divesting Defendants or Acquiring Defendant, as applicable, the reasons for the

rejection. Divesting Defendants or Acquiring Defendant, as applicable, shall be given the

opportunity to submit, within ten (10) business days of receiving a notice of rejection, a revised

compliance plan. If Divesting Defendants or Acquiring Defendant cannot agree with the United

States on a compliance plan, the United States shall have the right to request that this Court rule



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on whether Divesting Defendants’ or Acquiring Defendant’s proposed compliance plan fulfills

the requirements of this Section.

       C.      Divesting Defendants and Acquiring Defendant shall:

               1.      furnish a copy of this Final Judgment and related Competitive Impact

       Statement within sixty (60) calendar days of entry of the Stipulation and Order to (a) each

       officer, director, and any other employee that will receive competitively sensitive

       information; and (b) each officer, director, and any other employee that is involved in (i)

       any contacts with the other companies that are parties to any transition services

       agreement contemplated by this Final Judgment, or (ii) making decisions under any

       transition services agreement entered into pursuant to this Final Judgment;

               2.      furnish a copy of this Final Judgment and related Competitive Impact

       Statement to any successor to a person designated in Paragraph XIII(C)(1) upon

       assuming that position;

               3.      annually brief each person designated in Paragraph XIII(C)(1) and

       Paragraph XIII(C)(2) on the meaning and requirements of this Final Judgment and the

       antitrust laws; and

               4.      obtain from each person designated in Paragraph XI(C)(1) and Paragraph

       XI(C)(2), within thirty (30) calendar days of that person’s receipt of the Final Judgment,

       a certification that he or she (a) has read and, to the best of his or her ability, understands

       and agrees to abide by the terms of this Final Judgment; (b) is not aware of any violation

       of the Final Judgment that has not been reported to the company; and (c) understands that

       any person’s failure to comply with this Final Judgment may result in an enforcement

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       action for contempt of court against each Defendant or any person who violates this Final

       Judgment.

                          XIV.     COMPLIANCE INSPECTION

       A.      For the purposes of determining or securing compliance with this Final Judgment,

or of any related orders such as any Stipulation and Order, or of determining whether the Final

Judgment should be modified or vacated, and subject to any legally-recognized privilege, from

time to time authorized representatives of the United States, including agents and consultants

retained by the United States, shall, upon written request of an authorized representative of the

Assistant Attorney General in charge of the Antitrust Division, and on reasonable notice to

Defendants, be permitted:

               1.   access during Defendants’ office hours to inspect and copy, or at the option

       of the United States, to require Defendants to provide electronic copies of all books,

       ledgers, accounts, records, data, and documents in the possession, custody, or control of

       Defendants, relating to any matters contained in this Final Judgment; and

               2.    to interview, either informally or on the record, Defendants’ officers,

       employees, or agents, who may have their individual counsel present, regarding such

       matters. The interviews will be subject to the reasonable convenience of the interviewee

       and without restraint or interference by Defendants.

       B.      Upon the written request of an authorized representative of the Assistant Attorney

General in charge of the Antitrust Division, Defendants shall submit written reports or response

to written interrogatories, under oath if requested, relating to any of the matters contained in this

Final Judgment as may be requested.

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       C.      No information or documents obtained by the means provided in this Section will

be divulged by the United States to any person other than an authorized representative of the

executive branch of the United States, except in the course of legal proceedings to which the

United States is a party (including grand jury proceedings), for the purpose of securing

compliance with this Final Judgment, or as otherwise required by law.

       D.      If at the time that Defendants furnish information or documents to the United

States, Defendants represent and identify in writing the material in any such information or

documents to which a claim of protection may be asserted under Rule 26(c)(1)(G) of the Federal

Rules of Civil Procedure, and Defendants mark each pertinent page of such material, “Subject to

claim of protection under Rule 26(c)(1)(G) of the Federal Rules of Civil Procedure,” then the

United States shall give Defendants ten (10) calendar days’ notice prior to divulging such

material in any legal proceeding (other than a grand jury proceeding).

              XV.    NO REACQUISITION OR SALE TO COMPETITOR

       A.      Divesting Defendants and Parent Defendants shall not reacquire any part of the

Divestiture Assets during the term of this Final Judgment.

       B.      Divesting Defendants and Parent Defendants shall not acquire any other assets

that are substantially similar to the Divestiture Assets from the Acquiring Defendant during the

terms of this Final Judgment.

       C.      Acquiring Defendant shall not sell, lease, or otherwise provide the right to use the

Divestiture Assets (including, but not limited to, selling wholesale wireless network capacity) to

any national facilities-based mobile wireless provider during the term of this Final Judgment,

except for a roaming arrangement, without prior approval of the United States; provided,

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however, that following the divestiture of the 800 MHz Spectrum Licenses, the Divesting

Defendants will be permitted to lease back from the Acquiring Defendant up to 4 MHz of

spectrum as needed for up to two (2) years following the divestiture of the 800 MHz Spectrum

Licenses.

                                 XVI.     NOTIFICATIONS

       A.      Acquiring Defendant shall notify the United States at least thirty (30) calendar

days prior to any change in the corporation(s) that may affect compliance obligations arising

under this Final Judgment, including, but not limited to: a dissolution, assignment, sale, merger,

or other action that would result in the emergence of a successor corporation; the creation or

dissolution of a subsidiary, parent, or affiliate that engages in any acts or practices subject to this

Final Judgment; the proposed filing of a bankruptcy petition; or a change in the corporate name

or address. Provided, however, that, with respect to any proposed change in the corporation(s)

about which Acquiring Defendant learns fewer than thirty (30) calendar days prior to the date

such action is to take place, Acquiring Defendant shall notify the United States as soon as is

practicable after obtaining such knowledge.

       B.      For transactions that are not subject to the reporting and waiting period

requirements of the Hart-Scott-Rodino Antitrust Improvements Act of 1976, as amended, 15

U.S.C. § 18a (the “HSR Act”), Divesting Defendants shall not, without providing advanced

notification to the United States, directly or indirectly acquire a financial interest, including

through securities, loan, equity, or management interest, in any company that competes for the

provision of mobile wireless retail services. Acquiring Defendant shall not sell any of the



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Divestiture Assets or any currently held substantially similar assets, directly or indirectly,

without providing advance notification to the United States.

       C.      Such notification will be provided to the United States in the same format as, and

per the instructions relating to, the Notification and Report Form set forth in the Appendix to

Part 803 of Title 16 of the Code of Federal Regulations as amended. Notification will be

provided at least thirty (30) calendar days prior to acquiring any such interest, and will include,

beyond what may be required by the applicable instructions, the names of the principal

representatives of the parties to the agreement who negotiated the agreement, and any

management or strategic plans discussing the proposed transaction. If within thirty (30) calendar

days after notification, the United States makes a written request for additional information,

Defendants shall not consummate the proposed transaction or agreement until thirty (30)

calendar days after submitting and certifying, in the manner described in Part 803 of Title 16 of

the Code of Federal Regulations as amended, the truth, correctness, and completeness of all such

additional information. Early termination of the waiting periods in this paragraph may be

requested and, where appropriate, granted in the same manner as is applicable under the

requirements and provisions of the HSR Act and rules promulgated thereunder. This Section

will be broadly construed and any ambiguity or uncertainty regarding the filing of notice under

this Section will be resolved in favor of filing notice. Defendants may, however, provide

informal notice and request that the United States waive the requirement of formal notice for any

transaction.

       D.      Defendants represent and warrant to the United States that they have disclosed all

agreements between Acquiring Defendant and either Divesting Defendants or Parent Defendants

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related to the settlement of this action and their obligations and commitments put forth in this

Final Judgment. Defendants will provide thirty (30) days written notice to the United States of

any intent to enter into or execute any amendment, supplement, or modification to any of the

agreements between Divesting Defendants or Parent Defendants and Acquiring Defendant.

Notwithstanding any provision to the contrary in the agreements between Divesting Defendants

or Parent Defendants and Acquiring Defendant, Divesting Defendants or Parent Defendants may

not amend, supplement, terminate, or modify any of the agreements or any portion thereof

without obtaining the consent of the United States in its sole discretion. The United States will

not withhold consent to amendment, supplementation, modification, or termination of any of the

agreements or portion thereof if Divesting Defendants demonstrate to the United States, in its

sole discretion, that a refusal to amend, supplement, modify, or terminate the agreements would

prevent Divesting Defendants from meeting any build out requirements imposed by the FCC.

                       XVII.    RETENTION OF JURISDICTION

       The Court retains jurisdiction to enable any party to this Final Judgment to apply to the

Court at any time for further orders and directions as may be necessary or appropriate to carry

out or construe this Final Judgment, to modify any of its provisions, to enforce compliance, and

to punish violations of its provisions.

                 XVIII.     ENFORCEMENT OF FINAL JUDGMENT

       A.      The United States retains and reserves all rights to enforce the provisions of this

Final Judgment, including the right to seek an order of contempt from the Court. Defendants

agree that in any civil contempt action, any motion to show cause, or any similar action brought

by the United States regarding an alleged violation of this Final Judgment, the United States may

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establish a violation of the decree and the appropriateness of any remedy therefore by a

preponderance of the evidence, and Defendants waive any argument that a different standard of

proof should apply.

       B.      The Final Judgment should be interpreted to give full effect to the procompetitive

purposes of the antitrust laws and to restore all competition harmed by the challenged conduct.

Defendants agree that they may be held in contempt of, and that the Court may enforce, any

provision of this Final Judgment that, as interpreted by the Court in light of these procompetitive

principles and applying ordinary tools of interpretation, is stated specifically and in reasonable

detail, whether or not it is clear and unambiguous on its face. In any such interpretation, the

terms of this Final Judgment should not be construed against either party as the drafter.

       C.      In any enforcement proceeding in which the Court finds that Defendants have

violated this Final Judgment, the United States may apply to the Court for a one-time extension

of this Final Judgment, together with such other relief as may be appropriate. In connection with

any successful effort by the United States to enforce this Final Judgment against a Defendant,

whether litigated or resolved prior to litigation, that Defendant agrees to reimburse the United

States for the fees and expenses of its attorneys, as well as any other costs including experts’

fees, incurred in connection with that enforcement effort, including in the investigation of the

potential violation.

       D.      For a period of four (4) years after the expiration or termination of the Final

Judgment pursuant to Section XIX, if the United States has evidence that a Defendant violated

this Final Judgment before it expired or was terminated, the United States may file an action

against that Defendant in this Court requiring that the Court order (i) Defendant to comply with

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the terms of this Final Judgment for an additional term of at least four (4) years following the

filing of the enforcement action under this Section, (ii) any appropriate contempt remedies, (iii)

any additional relief needed to ensure that Defendant complies with the terms of the Final

Judgment, and (iv) fees or expenses as called for in Paragraph XVIII(C).

                     XIX.     EXPIRATION OF FINAL JUDGMENT

       Unless the Court grants an extension, this Final Judgment expires seven (7) years from

the date of its entry, except that after five (5) years from the date of its entry, this Final Judgment

may be terminated upon notice by the United States to the Court and Defendants that the

divestitures, buildouts and other requirements have been completed and that the continuation of

the Final Judgment no longer is necessary or in the public interest.

                     XX.     PUBLIC INTEREST DETERMINATION

       Entry of this Final Judgment is in the public interest. The parties have complied with the

requirements of the Antitrust Procedures and Penalties Act, 15 U.S.C. § 16, including making

copies available to the public of this Final Judgment, the Competitive Impact Statement, any

comments thereon, and the United States’ responses to comments. Based upon the record before

the Court, which includes the Competitive Impact Statement and any comments and responses to

comments filed with the Court, entry of this Final Judgment is in the public interest.

Date: __________________

[Court approval subject to procedures of Antitrust Procedures and Penalties Act, 15 U.S.C. § 16]



       _____________________

       United States District Judge

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800 MHz Economic Area License Holdings at end of Rebanding
                                                 Radio
                                                Service         Channel                                  Expiration
 Call Sign                  Licensee             Code EA Market Block              Market Name             Date                     Frequency Range
WPLM546      NEXTEL COMMUNICATIONS OF THE MID   YC      BEA001 B        Bangor, ME                        6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPLM547      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA001   X       Bangor, ME                        6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPLM549      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA002   B       Portland, ME                      6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPLM550      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA002   X       Portland, ME                      6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPLM552      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA003   B       Boston-Worcester-Lawrence-Lowe    6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPQT200      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA003   B       Boston-Worcester-Lawrence-Lowe    6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPLM553      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA003   X       Boston-Worcester-Lawrence-Lowe    6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPQT201      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA003   X       Boston-Worcester-Lawrence-Lowe    6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPLM555      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA004   B       Burlington, VT-NY                 6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPLM556      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA004   X       Burlington, VT-NY                 6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPOI277      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA005   B       Albany-Schenectady-Troy, NY       6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPOI278      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA005   X       Albany-Schenectady-Troy, NY       6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPOI280      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA006   B       Syracuse, NY-PA                   6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPOI281      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA006   X       Syracuse, NY-PA                   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPLM564      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA007   B       Rochester, NY-PA                  6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPLM565      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA007   X       Rochester, NY-PA                  6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPLM567      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA008   B       Buffalo-Niagara Falls, NY-PA      6/17/2028 817 - 818 / 862 - 863
             ATLANTIC, INC.
WPLM568      NEXTEL COMMUNICATIONS OF THE MID   YH     BEA008   X       Buffalo-Niagara Falls, NY-PA      6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
             ATLANTIC, INC.
WPLM570      NEXTEL WEST CORP.                  YC     BEA009   B       State College, PA                 6/17/2028   817 - 818 / 862 - 863
WPLM571      NEXTEL WEST CORP.                  YH     BEA009   X       State College, PA                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM573      NEXTEL OF NEW YORK, INC.           YC     BEA010   B       New York-No. New Jer.-Long Isl    6/17/2028   817 - 818 / 862 - 863
WPOI316      NEXTEL COMMUNICATIONS OF THE MID   YC     BEA010   B       New York-No. New Jer.-Long Isl    6/17/2028   817 - 818 / 862 - 863
             ATLANTIC, INC.
WPQS997      NEXTEL WEST CORP.                  YC     BEA010   B       New York-No. New Jer.-Long Isl    6/17/2028 817 - 818 / 862 - 863
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WPVP595 NEXTEL WEST CORP.                  YC   BEA010   B   New York-No. New Jer.-Long Isl   6/17/2028 817 - 818 / 862 - 863
WPLM574 NEXTEL OF NEW YORK, INC.           YH   BEA010   X   New York-No. New Jer.-Long Isl   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI317 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA010   X   New York-No. New Jer.-Long Isl   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPQS998 NEXTEL WEST CORP.                  YH   BEA010   X   New York-No. New Jer.-Long Isl   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM576 NEXTEL WEST CORP.                  YC   BEA011   B   Harrisburg-Lebanon-Carlisle, P   6/17/2028   817 - 818 / 862 - 863
WPOI283 NEXTEL WEST CORP.                  YC   BEA011   B   Harrisburg-Lebanon-Carlisle, P   6/17/2028   817 - 818 / 862 - 863
WPLM577 NEXTEL WEST CORP.                  YH   BEA011   X   Harrisburg-Lebanon-Carlisle, P   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI284 NEXTEL WEST CORP.                  YH   BEA011   X   Harrisburg-Lebanon-Carlisle, P   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM579 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA012   B   Philadelphia-Wilmington-Atl. C   6/17/2028   817 - 818 / 862 - 863
        ATLANTIC, INC.
WPOI319 NEXTEL WEST CORP.                  YC   BEA012   B   Philadelphia-Wilmington-Atl. C   6/17/2028 817 - 818 / 862 - 863
WPLM580 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA012   X   Philadelphia-Wilmington-Atl. C   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPOI320 NEXTEL WEST CORP.                  YH   BEA012   X   Philadelphia-Wilmington-Atl. C   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM582 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA013   B   Washington-Baltimore, DC-MD-VA   6/17/2028 817 - 818 / 862 - 863
        ATLANTIC, INC.
WPOI322 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA013   B   Washington-Baltimore, DC-MD-VA   6/17/2028 817 - 818 / 862 - 863
        ATLANTIC, INC.
WPQT203 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA013   B   Washington-Baltimore, DC-MD-VA   6/17/2028 817 - 818 / 862 - 863
        ATLANTIC, INC.
WPLM583 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA013   X   Washington-Baltimore, DC-MD-VA   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPOI323 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA013   X   Washington-Baltimore, DC-MD-VA   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPQT204 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA013   X   Washington-Baltimore, DC-MD-VA   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPLM585 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA014   B   Salisbury, MD-DE-VA              6/17/2028 817 - 818 / 862 - 863
        ATLANTIC, INC.
WQHV920 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA014   B   Salisbury, MD-DE-VA              6/17/2028 817.0125 - 817.1125 / 862.0125 - 862.1125
        ATLANTIC, INC.
WPLM586 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA014   X   Salisbury, MD-DE-VA              6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPLM588 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA015   B   Richmond-Petersburg, VA          6/17/2028 817.4 - 818 / 862.4 - 863
        ATLANTIC, INC.
WPOI413 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA015   B   Richmond-Petersburg, VA          6/17/2028 817 - 818 / 862 - 863
        ATLANTIC, INC.
WQHX606 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA015   B   Richmond-Petersburg, VA          6/17/2028 817 - 817.2 / 862 - 862.2
        ATLANTIC, INC.
WQHX885 NEXTEL COMMUNICATIONS OF THE MID   YC   BEA015   B   Richmond-Petersburg, VA          6/17/2028 817.2 - 817.4 / 862.2 - 862.4
        ATLANTIC, INC.
WPLM589 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA015   X   Richmond-Petersburg, VA          6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPOI414 NEXTEL COMMUNICATIONS OF THE MID   YH   BEA015   X   Richmond-Petersburg, VA          6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
        ATLANTIC, INC.
WPLM591 NEXTEL WEST CORP.                  YC   BEA016   B   Staunton, VA-WV                  6/17/2028 817 - 818 / 862 - 863
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WPOI325   NEXTEL WEST CORP.                  YC   BEA016   B   Staunton, VA-WV                  6/17/2028   817 - 818 / 862 - 863
WPLM592   NEXTEL WEST CORP.                  YH   BEA016   X   Staunton, VA-WV                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI326   NEXTEL WEST CORP.                  YH   BEA016   X   Staunton, VA-WV                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM594   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA017   B   Roanoke, VA-NC-WV                6/17/2028   817 - 818 / 862 - 863
          ATLANTIC, INC.
WPQT206   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA017   B   Roanoke, VA-NC-WV                6/17/2028 817 - 818 / 862 - 863
          ATLANTIC, INC.
WQHV921   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA017   B   Roanoke, VA-NC-WV                6/17/2028 817.0125 - 817.1125 / 862.0125 - 862.1125
          ATLANTIC, INC.
WPLM595   NEXTEL COMMUNICATIONS OF THE MID   YH   BEA017   X   Roanoke, VA-NC-WV                6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
          ATLANTIC, INC.
WPQT235   NEXTEL COMMUNICATIONS OF THE MID   YH   BEA017   X   Roanoke, VA-NC-WV                6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
          ATLANTIC, INC.
WPLM597   Nextel South Corp.                 YC   BEA018   B   Greensboro-Winston-Salem-High    6/17/2028   817 - 818 / 862 - 863
WPOI328   Nextel South Corp.                 YC   BEA018   B   Greensboro-Winston-Salem-High    6/17/2028   817 - 818 / 862 - 863
WPVQ580   Nextel South Corp.                 YC   BEA018   B   Greensboro-Winston-Salem-High    6/17/2028   817 - 818 / 862 - 863
WPVV599   Nextel South Corp.                 YC   BEA018   B   Greensboro-Winston-Salem-High    6/17/2028   817 - 818 / 862 - 863
WPLM598   Nextel South Corp.                 YH   BEA018   X   Greensboro-Winston-Salem-High    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI329   Nextel South Corp.                 YH   BEA018   X   Greensboro-Winston-Salem-High    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPVQ581   Nextel South Corp.                 YH   BEA018   X   Greensboro-Winston-Salem-High    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPVV600   Nextel South Corp.                 YH   BEA018   X   Greensboro-Winston-Salem-High    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM600   Nextel South Corp.                 YC   BEA019   B   Raleigh-Durham-Chapel Hill, NC   6/17/2028   817 - 818 / 862 - 863
WQHV922   Nextel South Corp.                 YC   BEA019   B   Raleigh-Durham-Chapel Hill, NC   6/17/2028   817.6375 - 817.7375 / 862.6375 - 862.7375
WQHX597   Nextel South Corp.                 YC   BEA019   B   Raleigh-Durham-Chapel Hill, NC   6/17/2028   817.0125 - 817.4875 / 862.0125 - 862.4875
WQHX600   Nextel South Corp.                 YC   BEA019   B   Raleigh-Durham-Chapel Hill, NC   6/17/2028   817.5125 - 817.6125 / 862.5125 - 862.6125
WPLM601   Nextel South Corp.                 YH   BEA019   X   Raleigh-Durham-Chapel Hill, NC   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM603   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA020   B   Norfolk-Virginia Beach-Newport   6/17/2028   817 - 818 / 862 - 863
          ATLANTIC, INC.
WQHX607   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA020   B   Norfolk-Virginia Beach-Newport   6/17/2028 817.0125 - 817.3625 / 862.0125 - 862.3625
          ATLANTIC, INC.
WQHX886   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA020   B   Norfolk-Virginia Beach-Newport   6/17/2028 817.3875 - 817.7375 / 862.3875 - 862.7375
          ATLANTIC, INC.
WPLM604   NEXTEL COMMUNICATIONS OF THE MID   YH   BEA020   X   Norfolk-Virginia Beach-Newport   6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
          ATLANTIC, INC.
WPLM606   Nextel South Corp.                 YC   BEA021   B   Greenville, NC                   6/17/2028   817 - 818 / 862 - 863
WQHV924   Nextel South Corp.                 YC   BEA021   B   Greenville, NC                   6/17/2028   817.6375 - 817.7375 / 862.6375 - 862.7375
WQHX595   Nextel South Corp.                 YC   BEA021   B   Greenville, NC                   6/17/2028   817.2625 - 817.4875 / 862.2625 - 862.4875
WQHX598   Nextel South Corp.                 YC   BEA021   B   Greenville, NC                   6/17/2028   817.0125 - 817.2375 / 862.0125 - 862.2375
WQHX602   Nextel South Corp.                 YC   BEA021   B   Greenville, NC                   6/17/2028   817.5125 - 817.6125 / 862.5125 - 862.6125
WPLM607   Nextel South Corp.                 YH   BEA021   X   Greenville, NC                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM609   Nextel South Corp.                 YC   BEA022   B   Fayetteville, NC                 6/17/2028   817 - 818 / 862 - 863
WQHV925   Nextel South Corp.                 YC   BEA022   B   Fayetteville, NC                 6/17/2028   817.3875 - 817.4875 / 862.3875 - 862.4875
WQHX603   Nextel South Corp.                 YC   BEA022   B   Fayetteville, NC                 6/17/2028   817.2625 - 817.3625 / 862.2625 - 862.3625
WQHX887   Nextel South Corp.                 YC   BEA022   B   Fayetteville, NC                 6/17/2028   817.0125 - 817.2375 / 862.0125 - 862.2375
WPLM610   Nextel South Corp.                 YH   BEA022   X   Fayetteville, NC                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM612   Nextel South Corp.                 YC   BEA023   B   Charlotte-Gastonia-Rock Hill,    6/17/2028   817 - 818 / 862 - 863
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WQHV928   Nextel South Corp.        YC   BEA023   B   Charlotte-Gastonia-Rock Hill,    6/17/2028   817.1375 - 817.2375 / 862.1375 - 862.2375
WQHX605   Nextel South Corp.        YC   BEA023   B   Charlotte-Gastonia-Rock Hill,    6/17/2028   817.0125 - 817.1125 / 862.0125 - 862.1125
WPLM613   Nextel South Corp.        YH   BEA023   X   Charlotte-Gastonia-Rock Hill,    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM615   Nextel South Corp.        YC   BEA024   B   Columbia, SC                     6/17/2028   817 - 818 / 862 - 863
WQHV929   Nextel South Corp.        YC   BEA024   B   Columbia, SC                     6/17/2028   817.0125 - 817.1125 / 862.0125 - 862.1125
WPLM616   Nextel South Corp.        YH   BEA024   X   Columbia, SC                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM618   Nextel South Corp.        YC   BEA025   B   Wilmington, NC-SC                6/17/2028   817 - 818 / 862 - 863
WQHV923   Nextel South Corp.        YC   BEA025   B   Wilmington, NC-SC                6/17/2028   817.5875 - 817.6875 / 862.5875 - 862.6875
WQHX596   Nextel South Corp.        YC   BEA025   B   Wilmington, NC-SC                6/17/2028   817.2375 - 817.4375 / 862.2375 - 862.4375
WQHX601   Nextel South Corp.        YC   BEA025   B   Wilmington, NC-SC                6/17/2028   817.4625 - 817.5625 / 862.4625 - 862.5625
WQHX888   Nextel South Corp.        YC   BEA025   B   Wilmington, NC-SC                6/17/2028   817.0125 - 817.2125 / 862.0125 - 862.2125
WPLM619   Nextel South Corp.        YH   BEA025   X   Wilmington, NC-SC                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM621   Nextel South Corp.        YC   BEA026   B   Charleston-North Charleston, S   6/17/2028   817 - 818 / 862 - 863
WQHV926   Nextel South Corp.        YC   BEA026   B   Charleston-North Charleston, S   6/17/2028   817.1375 - 817.2375 / 862.1375 - 862.2375
WQHX604   Nextel South Corp.        YC   BEA026   B   Charleston-North Charleston, S   6/17/2028   817.0125 - 817.1125 / 862.0125 - 862.1125
WPLM622   Nextel South Corp.        YH   BEA026   X   Charleston-North Charleston, S   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM624   Nextel South Corp.        YC   BEA027   B   Augusta-Aiken, GA-SC             6/17/2028   817.4 - 818 / 862.4 - 863
WPOK440   Nextel South Corp.        YC   BEA027   B   Augusta-Aiken, GA-SC             6/17/2028   817.4 - 818 / 862.4 - 863
WPLM625   Nextel South Corp.        YH   BEA027   X   Augusta-Aiken, GA-SC             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK441   Nextel South Corp.        YH   BEA027   X   Augusta-Aiken, GA-SC             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM627   Nextel South Corp.        YC   BEA028   B   Savannah, GA-SC                  6/17/2028   817.4 - 818 / 862.4 - 863
WPOK444   Nextel South Corp.        YC   BEA028   B   Savannah, GA-SC                  6/17/2028   817.4 - 818 / 862.4 - 863
WPLM628   Nextel South Corp.        YH   BEA028   X   Savannah, GA-SC                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK443   Nextel South Corp.        YH   BEA028   X   Savannah, GA-SC                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM630   Nextel South Corp.        YC   BEA029   B   Jacksonville, FL-GA              6/17/2028   817 - 818 / 862 - 863
WPOI331   Nextel South Corp.        YC   BEA029   B   Jacksonville, FL-GA              6/17/2028   817 - 818 / 862 - 863
WPLM631   Nextel South Corp.        YH   BEA029   X   Jacksonville, FL-GA              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI332   Nextel South Corp.        YH   BEA029   X   Jacksonville, FL-GA              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM633   Nextel South Corp.        YC   BEA030   B   Orlando, FL                      6/17/2028   817 - 818 / 862 - 863
WPLM634   Nextel South Corp.        YH   BEA030   X   Orlando, FL                      6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM636   Nextel South Corp.        YC   BEA031   B   Miami-Fort Lauderdale, FL        6/17/2028   817 - 818 / 862 - 863
WPLM637   Nextel South Corp.        YH   BEA031   X   Miami-Fort Lauderdale, FL        6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM639   Nextel South Corp.        YC   BEA032   B   Fort Myers-Cape Coral, FL        6/17/2028   817 - 818 / 862 - 863
WPLM640   Nextel South Corp.        YH   BEA032   X   Fort Myers-Cape Coral, FL        6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM642   Nextel South Corp.        YC   BEA033   B   Sarasota-Bradenton, FL           6/17/2028   817 - 818 / 862 - 863
WPLM643   Nextel South Corp.        YH   BEA033   X   Sarasota-Bradenton, FL           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM645   Nextel South Corp.        YC   BEA034   B   Tampa-St. Petersburg-Clearwate   6/17/2028   817 - 818 / 862 - 863
WPLM646   Nextel South Corp.        YH   BEA034   X   Tampa-St. Petersburg-Clearwate   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM647   Nextel South Corp.        YC   BEA035   B   Tallahassee, FL-GA               6/17/2028   817.4 - 818 / 862.4 - 863
WPLM648   Nextel South Corp.        YH   BEA035   X   Tallahassee, FL-GA               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR938   Nextel South Corp.        YH   BEA035   X   Tallahassee, FL-GA               3/21/2021   817.4 - 818 / 862.4 - 863
WPOI289   Nextel South Corp.        YC   BEA036   B   Dothan, AL-FL-GA                 6/17/2028   817.4 - 818 / 862.4 - 863
WPOI290   Nextel South Corp.        YH   BEA036   X   Dothan, AL-FL-GA                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR936   Nextel South Corp.        YH   BEA036   X   Dothan, AL-FL-GA                 3/21/2021   817.4 - 818 / 862.4 - 863
WPLM652   Nextel South Corp.        YC   BEA037   B   Albany, GA                       6/17/2028   817.4 - 818 / 862.4 - 863
WPLM653   Nextel South Corp.        YH   BEA037   X   Albany, GA                       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
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WPOK449   Nextel South Corp.        YC   BEA038   B   Macon, GA                        6/17/2028   817.4 - 818 / 862.4 - 863
WPOK450   Nextel South Corp.        YH   BEA038   X   Macon, GA                        6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK451   Nextel South Corp.        YC   BEA039   B   Columbus, GA-AL                  6/17/2028   817.4 - 818 / 862.4 - 863
WPLM658   Nextel South Corp.        YH   BEA039   X   Columbus, GA-AL                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI376   Nextel South Corp.        YH   BEA039   X   Columbus, GA-AL                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK452   Nextel South Corp.        YH   BEA039   X   Columbus, GA-AL                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR937   Nextel South Corp.        YH   BEA039   X   Columbus, GA-AL                  3/21/2021   817.4 - 818 / 862.4 - 863
WPLM660   Nextel South Corp.        YC   BEA040   B   Atlanta, GA-AL-NC                6/17/2028   817.4 - 818 / 862.4 - 863
WPOK454   Nextel South Corp.        YC   BEA040   B   Atlanta, GA-AL-NC                6/17/2028   817.4 - 818 / 862.4 - 863
WPLM661   Nextel South Corp.        YH   BEA040   X   Atlanta, GA-AL-NC                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI335   Nextel South Corp.        YH   BEA040   X   Atlanta, GA-AL-NC                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK455   Nextel South Corp.        YH   BEA040   X   Atlanta, GA-AL-NC                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR939   Nextel South Corp.        YH   BEA040   X   Atlanta, GA-AL-NC                3/21/2021   817.4 - 818 / 862.4 - 863
WPLM663   Nextel South Corp.        YC   BEA041   B   Greenville-Spartanburg-Anderso   6/17/2028   817 - 818 / 862 - 863
WPLM664   Nextel South Corp.        YH   BEA041   X   Greenville-Spartanburg-Anderso   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM666   Nextel South Corp.        YC   BEA042   B   Asheville, NC                    6/17/2028   817 - 818 / 862 - 863
WPLM667   Nextel South Corp.        YH   BEA042   X   Asheville, NC                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM669   Nextel South Corp.        YC   BEA043   B   Chattanooga, TN-GA               6/17/2028   817.4 - 818 / 862.4 - 863
WPLM670   Nextel South Corp.        YH   BEA043   X   Chattanooga, TN-GA               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM672   Nextel South Corp.        YC   BEA044   B   Knoxville, TN                    6/17/2028   817 - 818 / 862 - 863
WPOI337   Nextel South Corp.        YC   BEA044   B   Knoxville, TN                    6/17/2028   817 - 818 / 862 - 863
WPLM673   Nextel South Corp.        YH   BEA044   X   Knoxville, TN                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI338   Nextel South Corp.        YH   BEA044   X   Knoxville, TN                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM675   Nextel South Corp.        YC   BEA045   B   Johnson City-Kingsport-Bristol   6/17/2028   817 - 818 / 862 - 863
WPLM676   Nextel South Corp.        YH   BEA045   X   Johnson City-Kingsport-Bristol   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM678   Nextel South Corp.        YC   BEA046   B   Hickory-Morganton, NC-TN         6/17/2028   817 - 818 / 862 - 863
WPOI340   Nextel South Corp.        YC   BEA046   B   Hickory-Morganton, NC-TN         6/17/2028   817 - 818 / 862 - 863
WPLM679   Nextel South Corp.        YH   BEA046   X   Hickory-Morganton, NC-TN         6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI341   Nextel South Corp.        YH   BEA046   X   Hickory-Morganton, NC-TN         6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM681   NEXTEL WEST CORP.         YC   BEA047   B   Lexington, KY-TN-VA-WV           6/17/2028   817 - 818 / 862 - 863
WPOI378   NEXTEL WEST CORP.         YC   BEA047   B   Lexington, KY-TN-VA-WV           6/17/2028   817 - 818 / 862 - 863
WPLM682   NEXTEL WEST CORP.         YH   BEA047   X   Lexington, KY-TN-VA-WV           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI379   NEXTEL WEST CORP.         YH   BEA047   X   Lexington, KY-TN-VA-WV           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM684   NEXTEL WEST CORP.         YC   BEA048   B   Charleston, WV-KY-OH             6/17/2028   817 - 818 / 862 - 863
WPLM685   NEXTEL WEST CORP.         YH   BEA048   X   Charleston, WV-KY-OH             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM687   NEXTEL WEST CORP.         YC   BEA049   B   Cincinnati-Hamilton, OH-KY-IN    6/17/2028   817 - 818 / 862 - 863
WPQT236   NEXTEL WEST CORP.         YC   BEA049   B   Cincinnati-Hamilton, OH-KY-IN    6/17/2028   817 - 818 / 862 - 863
WPLM688   NEXTEL WEST CORP.         YH   BEA049   X   Cincinnati-Hamilton, OH-KY-IN    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQT237   NEXTEL WEST CORP.         YH   BEA049   X   Cincinnati-Hamilton, OH-KY-IN    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM690   NEXTEL WEST CORP.         YC   BEA050   B   Dayton-Springfield, OH           6/17/2028   817 - 818 / 862 - 863
WPLM691   NEXTEL WEST CORP.         YH   BEA050   X   Dayton-Springfield, OH           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM693   NEXTEL WEST CORP.         YC   BEA051   B   Columbus, OH                     6/17/2028   817 - 818 / 862 - 863
WPQS976   NEXTEL WEST CORP.         YC   BEA051   B   Columbus, OH                     6/17/2028   817 - 818 / 862 - 863
WPLM694   NEXTEL WEST CORP.         YH   BEA051   X   Columbus, OH                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQS977   NEXTEL WEST CORP.         YH   BEA051   X   Columbus, OH                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM696   NEXTEL WEST CORP.         YC   BEA052   B   Wheeling, WV-OH                  6/17/2028   817 - 818 / 862 - 863
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WPQS979   NEXTEL WEST CORP.                  YC   BEA052   B   Wheeling, WV-OH                  6/17/2028   817 - 818 / 862 - 863
WPLM697   NEXTEL WEST CORP.                  YH   BEA052   X   Wheeling, WV-OH                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQS980   NEXTEL WEST CORP.                  YH   BEA052   X   Wheeling, WV-OH                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM699   NEXTEL WEST CORP.                  YC   BEA053   B   Pittsburgh, PA-WV                6/17/2028   817 - 818 / 862 - 863
WPQS982   NEXTEL WEST CORP.                  YC   BEA053   B   Pittsburgh, PA-WV                6/17/2028   817 - 818 / 862 - 863
WPLM700   NEXTEL WEST CORP.                  YH   BEA053   X   Pittsburgh, PA-WV                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQS983   NEXTEL WEST CORP.                  YH   BEA053   X   Pittsburgh, PA-WV                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM702   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA054   B   Erie, PA                         6/17/2028   817 - 818 / 862 - 863
          ATLANTIC, INC.
WPOI381   NEXTEL COMMUNICATIONS OF THE MID   YC   BEA054   B   Erie, PA                         6/17/2028 817 - 818 / 862 - 863
          ATLANTIC, INC.
WPLM703   NEXTEL COMMUNICATIONS OF THE MID   YH   BEA054   X   Erie, PA                         6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
          ATLANTIC, INC.
WPOI382   NEXTEL COMMUNICATIONS OF THE MID   YH   BEA054   X   Erie, PA                         6/17/2028 818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
          ATLANTIC, INC.
WPLM705   NEXTEL WEST CORP.                  YC   BEA055   B   Cleveland-Akron, OH-PA           6/17/2028   817 - 818 / 862 - 863
WPLM706   NEXTEL WEST CORP.                  YH   BEA055   X   Cleveland-Akron, OH-PA           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM708   NEXTEL WEST CORP.                  YC   BEA056   B   Toledo, OH                       6/17/2028   817 - 818 / 862 - 863
WPLM709   NEXTEL WEST CORP.                  YH   BEA056   X   Toledo, OH                       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM711   NEXTEL WEST CORP.                  YC   BEA057   B   Detroit-Ann Arbor-Flint, MI      6/17/2028   817 - 818 / 862 - 863
WPLM712   NEXTEL WEST CORP.                  YH   BEA057   X   Detroit-Ann Arbor-Flint, MI      6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM714   NEXTEL WEST CORP.                  YC   BEA058   B   Northern Michigan, MI            6/17/2028   817 - 818 / 862 - 863
WPLM715   NEXTEL WEST CORP.                  YH   BEA058   X   Northern Michigan, MI            6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM717   NEXTEL WEST CORP.                  YC   BEA059   B   Green Bay, WI-MI                 6/17/2028   817 - 818 / 862 - 863
WPOI384   NEXTEL WEST CORP.                  YC   BEA059   B   Green Bay, WI-MI                 6/17/2028   817 - 818 / 862 - 863
WPVP602   NEXTEL WEST CORP.                  YC   BEA059   B   Green Bay, WI-MI                 6/17/2028   817 - 818 / 862 - 863
WPLM718   NEXTEL WEST CORP.                  YH   BEA059   X   Green Bay, WI-MI                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI385   NEXTEL WEST CORP.                  YH   BEA059   X   Green Bay, WI-MI                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM720   NEXTEL WEST CORP.                  YC   BEA060   B   Appleton-Oshkosh-Neenah, WI      6/17/2028   817 - 818 / 862 - 863
WPLM721   NEXTEL WEST CORP.                  YH   BEA060   X   Appleton-Oshkosh-Neenah, WI      6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM723   NEXTEL WEST CORP.                  YC   BEA061   B   Traverse City, MI                6/17/2028   817 - 818 / 862 - 863
WPLM724   NEXTEL WEST CORP.                  YH   BEA061   X   Traverse City, MI                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM726   NEXTEL WEST CORP.                  YC   BEA062   B   Grand Rapids-Muskegon-Holland,   6/17/2028   817 - 818 / 862 - 863
WPLM727   NEXTEL WEST CORP.                  YH   BEA062   X   Grand Rapids-Muskegon-Holland,   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM729   NEXTEL WEST CORP.                  YC   BEA063   B   Milwaukee-Racine, WI             6/17/2028   817 - 818 / 862 - 863
WPOI343   NEXTEL WEST CORP.                  YC   BEA063   B   Milwaukee-Racine, WI             6/17/2028   817 - 818 / 862 - 863
WPLM730   NEXTEL WEST CORP.                  YH   BEA063   X   Milwaukee-Racine, WI             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI344   NEXTEL WEST CORP.                  YH   BEA063   X   Milwaukee-Racine, WI             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM732   NEXTEL WEST CORP.                  YC   BEA064   B   Chicago-Gary-Kenosha, IL-IN-WI   6/17/2028   817 - 818 / 862 - 863
WPOI346   NEXTEL WEST CORP.                  YC   BEA064   B   Chicago-Gary-Kenosha, IL-IN-WI   6/17/2028   817 - 818 / 862 - 863
WPLM733   NEXTEL WEST CORP.                  YH   BEA064   X   Chicago-Gary-Kenosha, IL-IN-WI   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI347   NEXTEL WEST CORP.                  YH   BEA064   X   Chicago-Gary-Kenosha, IL-IN-WI   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM735   NEXTEL WEST CORP.                  YC   BEA065   B   Elkhart-Goshen, IN-MI            6/17/2028   817 - 818 / 862 - 863
WPLM736   NEXTEL WEST CORP.                  YH   BEA065   X   Elkhart-Goshen, IN-MI            6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM738   NEXTEL WEST CORP.                  YC   BEA066   B   Fort Wayne, IN                   6/17/2028   817 - 818 / 862 - 863
WPLM739   NEXTEL WEST CORP.                  YH   BEA066   X   Fort Wayne, IN                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
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WPLM741   NEXTEL WEST CORP.         YC   BEA067   B   Indianapolis, IN-IL              6/17/2028   817 - 818 / 862 - 863
WPOI349   NEXTEL WEST CORP.         YC   BEA067   B   Indianapolis, IN-IL              6/17/2028   817 - 818 / 862 - 863
WPOK457   NEXTEL WEST CORP.         YC   BEA067   B   Indianapolis, IN-IL              6/17/2028   817 - 818 / 862 - 863
WPLM742   NEXTEL WEST CORP.         YH   BEA067   X   Indianapolis, IN-IL              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI350   NEXTEL WEST CORP.         YH   BEA067   X   Indianapolis, IN-IL              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK458   NEXTEL WEST CORP.         YH   BEA067   X   Indianapolis, IN-IL              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI292   NEXTEL WEST CORP.         YC   BEA068   B   Champaign-Urbana, IL             6/17/2028   817 - 818 / 862 - 863
WPOI293   NEXTEL WEST CORP.         YH   BEA068   X   Champaign-Urbana, IL             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM747   NEXTEL WEST CORP.         YC   BEA069   B   Evansville-Henderson, IN-KY-IL   6/17/2028   817 - 818 / 862 - 863
WPLM748   NEXTEL WEST CORP.         YH   BEA069   X   Evansville-Henderson, IN-KY-IL   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM750   NEXTEL WEST CORP.         YC   BEA070   B   Louisville, KY-IN                6/17/2028   817 - 818 / 862 - 863
WPOI295   NEXTEL WEST CORP.         YC   BEA070   B   Louisville, KY-IN                6/17/2028   817 - 818 / 862 - 863
WPLM751   NEXTEL WEST CORP.         YH   BEA070   X   Louisville, KY-IN                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI296   NEXTEL WEST CORP.         YH   BEA070   X   Louisville, KY-IN                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI355   NEXTEL WEST CORP.         YC   BEA071   B   Nashville, TN-KY                 6/17/2028   817 - 818 / 862 - 863
WPSN389   Nextel South Corp.        YC   BEA071   B   Nashville, TN-KY                 6/17/2028   817 - 818 / 862 - 863
WPOI356   NEXTEL WEST CORP.         YH   BEA071   X   Nashville, TN-KY                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPSN390   Nextel South Corp.        YH   BEA071   X   Nashville, TN-KY                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM756   NEXTEL WEST CORP.         YC   BEA072   B   Paducah, KY-IL                   6/17/2028   817 - 818 / 862 - 863
WPLM757   NEXTEL WEST CORP.         YH   BEA072   X   Paducah, KY-IL                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM759   Nextel South Corp.        YC   BEA073   B   Memphis, TN-AR-MS-KY             6/17/2028   817 - 818 / 862 - 863
WPOK460   Nextel South Corp.        YC   BEA073   B   Memphis, TN-AR-MS-KY             6/17/2028   817 - 818 / 862 - 863
WPLM760   Nextel South Corp.        YH   BEA073   X   Memphis, TN-AR-MS-KY             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK461   Nextel South Corp.        YH   BEA073   X   Memphis, TN-AR-MS-KY             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM761   Nextel South Corp.        YC   BEA074   B   Huntsville, AL-TN                6/17/2028   817.4 - 818 / 862.4 - 863
WPLM762   Nextel South Corp.        YH   BEA074   X   Huntsville, AL-TN                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR940   Nextel South Corp.        YH   BEA074   X   Huntsville, AL-TN                3/21/2021   817.4 - 818 / 862.4 - 863
WPLM763   Nextel South Corp.        YC   BEA075   B   Tupelo, MS-AL-TN                 6/17/2028   817.4 - 818 / 862.4 - 863
WPLM764   Nextel South Corp.        YH   BEA075   X   Tupelo, MS-AL-TN                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR941   Nextel South Corp.        YH   BEA075   X   Tupelo, MS-AL-TN                 3/21/2021   817.4 - 818 / 862.4 - 863
WPLM765   Nextel South Corp.        YC   BEA076   B   Greenville, MS                   6/17/2028   817 - 818 / 862 - 863
WPOI386   Nextel South Corp.        YC   BEA076   B   Greenville, MS                   6/17/2028   817 - 818 / 862 - 863
WPLM766   Nextel South Corp.        YH   BEA076   X   Greenville, MS                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI387   Nextel South Corp.        YH   BEA076   X   Greenville, MS                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM768   Nextel South Corp.        YC   BEA077   B   Jackson, MS-AL-LA                6/17/2028   817.4 - 818 / 862.4 - 863
WPOI298   Nextel South Corp.        YC   BEA077   B   Jackson, MS-AL-LA                6/17/2028   817.4 - 818 / 862.4 - 863
WPLM769   Nextel South Corp.        YH   BEA077   X   Jackson, MS-AL-LA                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI299   Nextel South Corp.        YH   BEA077   X   Jackson, MS-AL-LA                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR942   Nextel South Corp.        YH   BEA077   X   Jackson, MS-AL-LA                3/21/2021   817.4 - 818 / 862.4 - 863
WPLM771   Nextel South Corp.        YH   BEA078   X   Birmingham, AL                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI358   Nextel South Corp.        YH   BEA078   X   Birmingham, AL                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR931   Nextel South Corp.        YH   BEA078   X   Birmingham, AL                   3/21/2021   817.4 - 818 / 862.4 - 863
WPLM773   Nextel South Corp.        YH   BEA079   X   Montgomery, AL                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR932   Nextel South Corp.        YH   BEA079   X   Montgomery, AL                   3/21/2021   817.4 - 818 / 862.4 - 863
WPLM775   Nextel South Corp.        YH   BEA080   X   Mobile, AL                       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR933   Nextel South Corp.        YH   BEA080   X   Mobile, AL                       3/21/2021   817.4 - 818 / 862.4 - 863
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WPLM777   Nextel South Corp.        YH   BEA081   X   Pensacola, FL                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR934   Nextel South Corp.        YH   BEA081   X   Pensacola, FL                    3/21/2021   817.4 - 818 / 862.4 - 863
WPLM779   Nextel South Corp.        YH   BEA082   X   Biloxi-Gulfport-Pascagoula, MS   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WQVR935   Nextel South Corp.        YH   BEA082   X   Biloxi-Gulfport-Pascagoula, MS   3/21/2021   817.4 - 818 / 862.4 - 863
WPLM781   Nextel South Corp.        YC   BEA083   B   New Orleans, LA-MS               6/17/2028   817 - 818 / 862 - 863
WQVR930   Nextel South Corp.        YC   BEA083   B   New Orleans, LA-MS               6/17/2028   817.4 - 818 / 862.4 - 863
WPLM782   Nextel South Corp.        YH   BEA083   X   New Orleans, LA-MS               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI361   Nextel South Corp.        YH   BEA083   X   New Orleans, LA-MS               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM784   Nextel South Corp.        YC   BEA084   B   Baton Rouge, LA-MS               6/17/2028   817 - 818 / 862 - 863
WPLM785   Nextel South Corp.        YH   BEA084   X   Baton Rouge, LA-MS               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM787   Nextel South Corp.        YC   BEA085   B   Lafayette, LA                    6/17/2028   817 - 818 / 862 - 863
WPOI301   Nextel South Corp.        YC   BEA085   B   Lafayette, LA                    6/17/2028   817 - 818 / 862 - 863
WPLM788   Nextel South Corp.        YH   BEA085   X   Lafayette, LA                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI302   Nextel South Corp.        YH   BEA085   X   Lafayette, LA                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM790   Nextel South Corp.        YC   BEA086   B   Lake Charles, LA                 6/17/2028   817 - 818 / 862 - 863
WPLM791   Nextel South Corp.        YH   BEA086   X   Lake Charles, LA                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM793   NEXTEL WEST CORP.         YC   BEA087   B   Beaumont-Port Arthur, TX         6/17/2028   817 - 818 / 862 - 863
WPLM794   NEXTEL WEST CORP.         YH   BEA087   X   Beaumont-Port Arthur, TX         6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI304   Nextel South Corp.        YC   BEA088   B   Shreveport-Bossier City, LA-AR   6/17/2028   817 - 818 / 862 - 863
WPOI305   Nextel South Corp.        YH   BEA088   X   Shreveport-Bossier City, LA-AR   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM799   Nextel South Corp.        YC   BEA089   B   Monroe, LA                       6/17/2028   817 - 818 / 862 - 863
WPLM800   Nextel South Corp.        YH   BEA089   X   Monroe, LA                       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH201   Nextel South Corp.        YC   BEA090   B   Little Rock-North Little Rock,   6/17/2028   817 - 818 / 862 - 863
WPOH202   Nextel South Corp.        YH   BEA090   X   Little Rock-North Little Rock,   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH203   NEXTEL WEST CORP.         YC   BEA091   B   Fort Smith, AR-OK                6/17/2028   817 - 818 / 862 - 863
WPOH204   NEXTEL WEST CORP.         YH   BEA091   X   Fort Smith, AR-OK                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH205   Nextel South Corp.        YC   BEA092   B   Fayetteville-Springdale-Rogers   6/17/2028   817 - 818 / 862 - 863
WPOK462   NEXTEL WEST CORP.         YC   BEA092   B   Fayetteville-Springdale-Rogers   6/17/2028   817 - 818 / 862 - 863
WPOH206   Nextel South Corp.        YH   BEA092   X   Fayetteville-Springdale-Rogers   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK463   NEXTEL WEST CORP.         YH   BEA092   X   Fayetteville-Springdale-Rogers   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH208   NEXTEL WEST CORP.         YC   BEA093   B   Joplin, MO-KS-OK                 6/17/2028   817 - 818 / 862 - 863
WPOH209   NEXTEL WEST CORP.         YH   BEA093   X   Joplin, MO-KS-OK                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH211   NEXTEL WEST CORP.         YC   BEA094   B   Springfield, MO                  6/17/2028   817 - 818 / 862 - 863
WPOH212   NEXTEL WEST CORP.         YH   BEA094   X   Springfield, MO                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH213   Nextel South Corp.        YC   BEA095   B   Jonesboro, AR-MO                 6/17/2028   817 - 818 / 862 - 863
WPOK464   Nextel South Corp.        YC   BEA095   B   Jonesboro, AR-MO                 6/17/2028   817 - 818 / 862 - 863
WPOH214   Nextel South Corp.        YH   BEA095   X   Jonesboro, AR-MO                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK465   Nextel South Corp.        YH   BEA095   X   Jonesboro, AR-MO                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH216   NEXTEL WEST CORP.         YC   BEA096   B   St. Louis, MO-IL                 6/17/2028   817 - 818 / 862 - 863
WPOK467   NEXTEL WEST CORP.         YC   BEA096   B   St. Louis, MO-IL                 6/17/2028   817 - 818 / 862 - 863
WPOH217   NEXTEL WEST CORP.         YH   BEA096   X   St. Louis, MO-IL                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK468   NEXTEL WEST CORP.         YH   BEA096   X   St. Louis, MO-IL                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH219   NEXTEL WEST CORP.         YC   BEA097   B   Springfield, IL-MO               6/17/2028   817 - 818 / 862 - 863
WPOI389   NEXTEL WEST CORP.         YC   BEA097   B   Springfield, IL-MO               6/17/2028   817 - 818 / 862 - 863
WPOH220   NEXTEL WEST CORP.         YH   BEA097   X   Springfield, IL-MO               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI390   NEXTEL WEST CORP.         YH   BEA097   X   Springfield, IL-MO               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
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WPOH222   NEXTEL WEST CORP.        YC   BEA098   B   Columbia, MO                     6/17/2028   817 - 818 / 862 - 863
WPOH223   NEXTEL WEST CORP.        YH   BEA098   X   Columbia, MO                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH225   NEXTEL WEST CORP.        YC   BEA099   B   Kansas City, MO-KS               6/17/2028   817 - 818 / 862 - 863
WPOH226   NEXTEL WEST CORP.        YH   BEA099   X   Kansas City, MO-KS               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH228   NEXTEL WEST CORP.        YC   BEA100   B   Des Moines, IA-IL-MO             6/17/2028   817 - 818 / 862 - 863
WPOI392   NEXTEL WEST CORP.        YC   BEA100   B   Des Moines, IA-IL-MO             6/17/2028   817 - 818 / 862 - 863
WQPK770   NEXTEL WEST CORP.        YC   BEA100   B   Des Moines, IA-IL-MO             6/17/2028   817 - 818 / 862 - 863
WPOH229   NEXTEL WEST CORP.        YH   BEA100   X   Des Moines, IA-IL-MO             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI393   NEXTEL WEST CORP.        YH   BEA100   X   Des Moines, IA-IL-MO             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH230   NEXTEL WEST CORP.        YC   BEA101   B   Peoria-Pekin, IL                 6/17/2028   817 - 818 / 862 - 863
WPOH231   NEXTEL WEST CORP.        YH   BEA101   X   Peoria-Pekin, IL                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH233   NEXTEL WEST CORP.        YC   BEA102   B   Davenport-Moline-Rock Island,    6/17/2028   817 - 818 / 862 - 863
WQPK773   NEXTEL WEST CORP.        YC   BEA102   B   Davenport-Moline-Rock Island,    6/17/2028   817 - 818 / 862 - 863
WPOH234   NEXTEL WEST CORP.        YH   BEA102   X   Davenport-Moline-Rock Island,    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH236   NEXTEL WEST CORP.        YC   BEA103   B   Cedar Rapids, IA                 6/17/2028   817 - 818 / 862 - 863
WPOH237   NEXTEL WEST CORP.        YH   BEA103   X   Cedar Rapids, IA                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH239   NEXTEL WEST CORP.        YC   BEA104   B   Madison, WI-IA-IL                6/17/2028   817 - 818 / 862 - 863
WPOI395   NEXTEL WEST CORP.        YC   BEA104   B   Madison, WI-IA-IL                6/17/2028   817 - 818 / 862 - 863
WQPK776   NEXTEL WEST CORP.        YC   BEA104   B   Madison, WI-IA-IL                6/17/2028   817 - 818 / 862 - 863
WQPK821   NEXTEL WEST CORP.        YC   BEA104   B   Madison, WI-IA-IL                6/17/2028   817 - 818 / 862 - 863
WPOH240   NEXTEL WEST CORP.        YH   BEA104   X   Madison, WI-IA-IL                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI396   NEXTEL WEST CORP.        YH   BEA104   X   Madison, WI-IA-IL                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH242   NEXTEL WEST CORP.        YC   BEA105   B   La Crosse, WI-MN                 6/17/2028   817 - 818 / 862 - 863
WPOH243   NEXTEL WEST CORP.        YH   BEA105   X   La Crosse, WI-MN                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH245   NEXTEL WEST CORP.        YC   BEA106   B   Rochester, MN-IA-WI              6/17/2028   817 - 818 / 862 - 863
WPOI398   NEXTEL WEST CORP.        YC   BEA106   B   Rochester, MN-IA-WI              6/17/2028   817 - 818 / 862 - 863
WPQT224   NEXTEL WEST CORP.        YC   BEA106   B   Rochester, MN-IA-WI              6/17/2028   817 - 818 / 862 - 863
WPOH246   NEXTEL WEST CORP.        YH   BEA106   X   Rochester, MN-IA-WI              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI399   NEXTEL WEST CORP.        YH   BEA106   X   Rochester, MN-IA-WI              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQT225   NEXTEL WEST CORP.        YH   BEA106   X   Rochester, MN-IA-WI              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH248   NEXTEL WEST CORP.        YC   BEA107   B   Minneapolis-St. Paul, MN-WI-IA   6/17/2028   817 - 818 / 862 - 863
WPOI363   NEXTEL WEST CORP.        YC   BEA107   B   Minneapolis-St. Paul, MN-WI-IA   6/17/2028   817 - 818 / 862 - 863
WPQT227   NEXTEL WEST CORP.        YC   BEA107   B   Minneapolis-St. Paul, MN-WI-IA   6/17/2028   817 - 818 / 862 - 863
WPOH249   NEXTEL WEST CORP.        YH   BEA107   X   Minneapolis-St. Paul, MN-WI-IA   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI364   NEXTEL WEST CORP.        YH   BEA107   X   Minneapolis-St. Paul, MN-WI-IA   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQT228   NEXTEL WEST CORP.        YH   BEA107   X   Minneapolis-St. Paul, MN-WI-IA   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI401   NEXTEL WEST CORP.        YC   BEA108   B   Wausau, WI                       6/17/2028   817 - 818 / 862 - 863
WPOI402   NEXTEL WEST CORP.        YH   BEA108   X   Wausau, WI                       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI404   NEXTEL WEST CORP.        YC   BEA109   B   Duluth-Superior, MN-WI           6/17/2028   817 - 818 / 862 - 863
WPOI405   NEXTEL WEST CORP.        YH   BEA109   X   Duluth-Superior, MN-WI           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH256   NEXTEL WEST CORP.        YC   BEA110   B   Grand Forks, ND-MN               6/17/2028   817 - 818 / 862 - 863
WPOH257   NEXTEL WEST CORP.        YH   BEA110   X   Grand Forks, ND-MN               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH258   NEXTEL WEST CORP.        YC   BEA111   B   Minot, ND                        6/17/2028   817 - 818 / 862 - 863
WPOH259   NEXTEL WEST CORP.        YH   BEA111   X   Minot, ND                        6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH260   NEXTEL WEST CORP.        YC   BEA112   B   Bismarck, ND-MT-SD               6/17/2028   817 - 818 / 862 - 863
WPOH261   NEXTEL WEST CORP.        YH   BEA112   X   Bismarck, ND-MT-SD               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
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WPOH262   NEXTEL WEST CORP.        YC   BEA113   B   Fargo-Moorhead, ND-MN         6/17/2028   817 - 818 / 862 - 863
WPOH263   NEXTEL WEST CORP.        YH   BEA113   X   Fargo-Moorhead, ND-MN         6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH264   NEXTEL WEST CORP.        YC   BEA114   B   Aberdeen, SD                  6/17/2028   817 - 818 / 862 - 863
WPOH265   NEXTEL WEST CORP.        YH   BEA114   X   Aberdeen, SD                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH267   NEXTEL WEST CORP.        YC   BEA115   B   Rapid City, SD-MT-ND-NE       6/17/2028   817 - 818 / 862 - 863
WPOH268   NEXTEL WEST CORP.        YH   BEA115   X   Rapid City, SD-MT-ND-NE       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH270   NEXTEL WEST CORP.        YC   BEA116   B   Sioux Falls, SD-IA-MN-NE      6/17/2028   817 - 818 / 862 - 863
WPOH271   NEXTEL WEST CORP.        YH   BEA116   X   Sioux Falls, SD-IA-MN-NE      6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH273   NEXTEL WEST CORP.        YC   BEA117   B   Sioux City, IA-NE-SD          6/17/2028   817 - 818 / 862 - 863
WPOH274   NEXTEL WEST CORP.        YH   BEA117   X   Sioux City, IA-NE-SD          6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI407   NEXTEL WEST CORP.        YC   BEA118   B   Omaha, NE-IA-MO               6/17/2028   817 - 818 / 862 - 863
WPOI408   NEXTEL WEST CORP.        YH   BEA118   X   Omaha, NE-IA-MO               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI307   NEXTEL WEST CORP.        YC   BEA119   B   Lincoln, NE                   6/17/2028   817 - 818 / 862 - 863
WPOH280   NEXTEL WEST CORP.        YH   BEA119   X   Lincoln, NE                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH282   NEXTEL WEST CORP.        YC   BEA120   B   Grand Island, NE              6/17/2028   817 - 818 / 862 - 863
WPOH283   NEXTEL WEST CORP.        YH   BEA120   X   Grand Island, NE              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH284   NEXTEL WEST CORP.        YC   BEA121   B   North Platte, NE-CO           6/17/2028   817 - 818 / 862 - 863
WPQS994   NEXTEL WEST CORP.        YC   BEA121   B   North Platte, NE-CO           6/17/2028   817 - 818 / 862 - 863
WPOH285   NEXTEL WEST CORP.        YH   BEA121   X   North Platte, NE-CO           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQS995   NEXTEL WEST CORP.        YH   BEA121   X   North Platte, NE-CO           6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH287   NEXTEL WEST CORP.        YC   BEA122   B   Wichita, KS-OK                6/17/2028   817 - 818 / 862 - 863
WPQT233   NEXTEL WEST CORP.        YC   BEA122   B   Wichita, KS-OK                6/17/2028   817 - 818 / 862 - 863
WPOH288   NEXTEL WEST CORP.        YH   BEA122   X   Wichita, KS-OK                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQT234   NEXTEL WEST CORP.        YH   BEA122   X   Wichita, KS-OK                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH290   NEXTEL WEST CORP.        YC   BEA123   B   Topeka, KS                    6/17/2028   817 - 818 / 862 - 863
WPOH291   NEXTEL WEST CORP.        YH   BEA123   X   Topeka, KS                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH293   NEXTEL WEST CORP.        YC   BEA124   B   Tulsa, OK-KS                  6/17/2028   817 - 818 / 862 - 863
WPOH294   NEXTEL WEST CORP.        YH   BEA124   X   Tulsa, OK-KS                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH296   NEXTEL WEST CORP.        YC   BEA125   B   Oklahoma City, OK             6/17/2028   817 - 818 / 862 - 863
WPOH297   NEXTEL WEST CORP.        YH   BEA125   X   Oklahoma City, OK             6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH298   NEXTEL WEST CORP.        YC   BEA126   B   Western Oklahoma, OK          6/17/2028   817 - 818 / 862 - 863
WPOH299   NEXTEL WEST CORP.        YH   BEA126   X   Western Oklahoma, OK          6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH301   NEXTEL WEST CORP.        YC   BEA127   B   Dallas-Fort Worth, TX-AR-OK   6/17/2028   817 - 818 / 862 - 863
WPOI410   NEXTEL WEST CORP.        YC   BEA127   B   Dallas-Fort Worth, TX-AR-OK   6/17/2028   817 - 818 / 862 - 863
WPOH302   NEXTEL WEST CORP.        YH   BEA127   X   Dallas-Fort Worth, TX-AR-OK   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI411   NEXTEL WEST CORP.        YH   BEA127   X   Dallas-Fort Worth, TX-AR-OK   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK472   NEXTEL WEST CORP.        YC   BEA128   B   Abilene, TX                   6/17/2028   817 - 818 / 862 - 863
WPOK473   NEXTEL WEST CORP.        YC   BEA128   X   Abilene, TX                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH305   NEXTEL WEST CORP.        YC   BEA129   B   San Angelo, TX                6/17/2028   817 - 818 / 862 - 863
WPOH306   NEXTEL WEST CORP.        YC   BEA129   X   San Angelo, TX                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH308   NEXTEL WEST CORP.        YC   BEA130   B   Austin-San Marcos, TX         6/17/2028   817 - 818 / 862 - 863
WPOI366   NEXTEL WEST CORP.        YC   BEA130   B   Austin-San Marcos, TX         6/17/2028   817 - 818 / 862 - 863
WPQT222   NEXTEL WEST CORP.        YC   BEA130   B   Austin-San Marcos, TX         6/17/2028   817 - 818 / 862 - 863
WPOH309   NEXTEL WEST CORP.        YH   BEA130   X   Austin-San Marcos, TX         6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI367   NEXTEL WEST CORP.        YH   BEA130   X   Austin-San Marcos, TX         6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQT238   NEXTEL WEST CORP.        YH   BEA130   X   Austin-San Marcos, TX         6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
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WPOH311   NEXTEL WEST CORP.        YC   BEA131   B   Houston-Galveston-Brazoria, TX   6/17/2028   817 - 818 / 862 - 863
WPOI369   NEXTEL WEST CORP.        YC   BEA131   B   Houston-Galveston-Brazoria, TX   6/17/2028   817 - 818 / 862 - 863
WPOH312   NEXTEL WEST CORP.        YH   BEA131   X   Houston-Galveston-Brazoria, TX   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI370   NEXTEL WEST CORP.        YH   BEA131   X   Houston-Galveston-Brazoria, TX   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH314   NEXTEL WEST CORP.        YC   BEA132   B   Corpus Christi, TX               6/17/2028   817 - 818 / 862 - 863
WPOI310   NEXTEL WEST CORP.        YC   BEA132   B   Corpus Christi, TX               6/17/2028   817 - 818 / 862 - 863
WPOH315   NEXTEL WEST CORP.        YC   BEA132   X   Corpus Christi, TX               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI311   NEXTEL WEST CORP.        YC   BEA132   X   Corpus Christi, TX               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH317   NEXTEL WEST CORP.        YC   BEA133   B   McAllen-Edinburg-Mission, TX     6/17/2028   817 - 818 / 862 - 863
WPOH318   NEXTEL WEST CORP.        YC   BEA133   X   McAllen-Edinburg-Mission, TX     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH320   NEXTEL WEST CORP.        YC   BEA134   B   San Antonio, TX                  6/17/2028   817 - 818 / 862 - 863
WPOK475   NEXTEL WEST CORP.        YC   BEA134   B   San Antonio, TX                  6/17/2028   817 - 818 / 862 - 863
WPOH321   NEXTEL WEST CORP.        YC   BEA134   X   San Antonio, TX                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOK476   NEXTEL WEST CORP.        YC   BEA134   X   San Antonio, TX                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH323   NEXTEL WEST CORP.        YC   BEA135   B   Odessa-Midland, TX               6/17/2028   817 - 818 / 862 - 863
WPOH324   NEXTEL WEST CORP.        YC   BEA135   X   Odessa-Midland, TX               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH325   NEXTEL WEST CORP.        YC   BEA136   B   Hobbs, NM-TX                     6/17/2028   817 - 818 / 862 - 863
WPQS989   NEXTEL WEST CORP.        YC   BEA136   B   Hobbs, NM-TX                     6/17/2028   817 - 818 / 862 - 863
WPOH326   NEXTEL WEST CORP.        YH   BEA136   X   Hobbs, NM-TX                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQS990   NEXTEL WEST CORP.        YH   BEA136   X   Hobbs, NM-TX                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH328   NEXTEL WEST CORP.        YC   BEA137   B   Lubbock, TX                      6/17/2028   817 - 818 / 862 - 863
WPOH329   NEXTEL WEST CORP.        YH   BEA137   X   Lubbock, TX                      6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH330   NEXTEL WEST CORP.        YC   BEA138   B   Amarillo, TX-NM                  6/17/2028   817 - 818 / 862 - 863
WPQT230   NEXTEL WEST CORP.        YC   BEA138   B   Amarillo, TX-NM                  6/17/2028   817 - 818 / 862 - 863
WPOH331   NEXTEL WEST CORP.        YH   BEA138   X   Amarillo, TX-NM                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQT231   NEXTEL WEST CORP.        YH   BEA138   X   Amarillo, TX-NM                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH333   NEXTEL WEST CORP.        YC   BEA139   B   Santa Fe, NM                     6/17/2028   817 - 818 / 862 - 863
WPOH334   NEXTEL WEST CORP.        YH   BEA139   X   Santa Fe, NM                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH336   NEXTEL WEST CORP.        YC   BEA140   B   Pueblo, CO-NM                    6/17/2028   817 - 818 / 862 - 863
WPOH337   NEXTEL WEST CORP.        YH   BEA140   X   Pueblo, CO-NM                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH339   NEXTEL WEST CORP.        YC   BEA141   B   Denver-Boulder-Greeley, CO-KS-   6/17/2028   817 - 818 / 862 - 863
WPQS992   NEXTEL WEST CORP.        YC   BEA141   B   Denver-Boulder-Greeley, CO-KS-   6/17/2028   817 - 818 / 862 - 863
WPOH340   NEXTEL WEST CORP.        YH   BEA141   X   Denver-Boulder-Greeley, CO-KS-   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQS993   NEXTEL WEST CORP.        YH   BEA141   X   Denver-Boulder-Greeley, CO-KS-   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH341   NEXTEL WEST CORP.        YC   BEA142   B   Scottsbluff, NE-WY               6/17/2028   817 - 818 / 862 - 863
WPOH342   NEXTEL WEST CORP.        YH   BEA142   X   Scottsbluff, NE-WY               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH343   NEXTEL WEST CORP.        YC   BEA143   B   Casper, WY-ID-UT                 6/17/2028   817 - 818 / 862 - 863
WPOH344   NEXTEL WEST CORP.        YH   BEA143   X   Casper, WY-ID-UT                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH345   NEXTEL WEST CORP.        YC   BEA144   B   Billings, MT-WY                  6/17/2028   817 - 818 / 862 - 863
WPOH346   NEXTEL WEST CORP.        YH   BEA144   X   Billings, MT-WY                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH347   NEXTEL WEST CORP.        YC   BEA145   B   Great Falls, MT                  6/17/2028   817 - 818 / 862 - 863
WPOH348   NEXTEL WEST CORP.        YH   BEA145   X   Great Falls, MT                  6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH349   NEXTEL WEST CORP.        YC   BEA146   B   Missoula, MT                     6/17/2028   817 - 818 / 862 - 863
WPOH350   NEXTEL WEST CORP.        YH   BEA146   X   Missoula, MT                     6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH352   NEXTEL WEST CORP.        YC   BEA147   B   Spokane, WA-ID                   6/17/2028   817 - 818 / 862 - 863
WPOH353   NEXTEL WEST CORP.        YH   BEA147   X   Spokane, WA-ID                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
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WPOI371   NEXTEL WEST CORP.        YC   BEA148   B   Idaho Falls, ID-WY               6/17/2028   817 - 818 / 862 - 863
WPOI372   NEXTEL WEST CORP.        YH   BEA148   X   Idaho Falls, ID-WY               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH356   NEXTEL WEST CORP.        YC   BEA149   B   Twin Falls, ID                   6/17/2028   817 - 818 / 862 - 863
WPOI312   NEXTEL WEST CORP.        YC   BEA149   B   Twin Falls, ID                   6/17/2028   817 - 818 / 862 - 863
WPOH357   NEXTEL WEST CORP.        YH   BEA149   X   Twin Falls, ID                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI313   NEXTEL WEST CORP.        YH   BEA149   X   Twin Falls, ID                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH426   NEXTEL WEST CORP.        YC   BEA150   B   Boise City, ID-OR                6/17/2028   817 - 818 / 862 - 863
WPOH358   NEXTEL WEST CORP.        YH   BEA150   X   Boise City, ID-OR                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOI314   NEXTEL WEST CORP.        YH   BEA150   X   Boise City, ID-OR                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPQT207   NEXTEL WEST CORP.        YH   BEA150   X   Boise City, ID-OR                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH359   NEXTEL WEST CORP.        YC   BEA151   B   Reno, NV-CA                      6/17/2028   817 - 818 / 862 - 863
WPOH360   NEXTEL WEST CORP.        YH   BEA151   X   Reno, NV-CA                      6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH362   NEXTEL WEST CORP.        YC   BEA152   B   Salt Lake City-Ogden, UT-ID      6/17/2028   817 - 818 / 862 - 863
WPOH363   NEXTEL WEST CORP.        YH   BEA152   X   Salt Lake City-Ogden, UT-ID      6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH365   NEXTEL WEST CORP.        YC   BEA153   B   Las Vegas, NV-AZ-UT              6/17/2028   817 - 818 / 862 - 863
WQPK846   NEXTEL WEST CORP.        YC   BEA153   B   Las Vegas, NV-AZ-UT              6/17/2028   817 - 818 / 862 - 863
WPOH366   NEXTEL WEST CORP.        YH   BEA153   X   Las Vegas, NV-AZ-UT              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH367   NEXTEL WEST CORP.        YC   BEA154   B   Flagstaff, AZ-UT                 6/17/2028   817 - 818 / 862 - 863
WPOH368   NEXTEL WEST CORP.        YH   BEA154   X   Flagstaff, AZ-UT                 6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH369   NEXTEL WEST CORP.        YC   BEA155   B   Farmington, NM-CO                6/17/2028   817 - 818 / 862 - 863
WPOH370   NEXTEL WEST CORP.        YH   BEA155   X   Farmington, NM-CO                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH372   NEXTEL WEST CORP.        YC   BEA156   B   Albuquerque, NM-AZ               6/17/2028   817 - 818 / 862 - 863
WPOH373   NEXTEL WEST CORP.        YH   BEA156   X   Albuquerque, NM-AZ               6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH375   NEXTEL WEST CORP.        YC   BEA157   B   El Paso, TX-NM                   6/17/2028   817 - 818 / 862 - 863
WPOH376   NEXTEL WEST CORP.        YC   BEA157   X   El Paso, TX-NM                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH378   NEXTEL WEST CORP.        YC   BEA158   B   Phoenix-Mesa, AZ-NM              6/17/2028   817 - 818 / 862 - 863
WPOH379   NEXTEL WEST CORP.        YC   BEA158   X   Phoenix-Mesa, AZ-NM              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH381   NEXTEL WEST CORP.        YC   BEA159   B   Tucson, AZ                       6/17/2028   817 - 818 / 862 - 863
WPOH382   NEXTEL WEST CORP.        YC   BEA159   X   Tucson, AZ                       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH384   NEXTEL WEST CORP.        YC   BEA160   B   Los Angeles-Riverside-Orange C   6/17/2028   817 - 818 / 862 - 863
WPOH385   NEXTEL WEST CORP.        YC   BEA160   X   Los Angeles-Riverside-Orange C   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH387   NEXTEL WEST CORP.        YC   BEA161   B   San Diego, CA                    6/17/2028   817 - 818 / 862 - 863
WPOH388   NEXTEL WEST CORP.        YC   BEA161   X   San Diego, CA                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH390   NEXTEL WEST CORP.        YC   BEA162   B   Fresno, CA                       6/17/2028   817 - 818 / 862 - 863
WPOH391   NEXTEL WEST CORP.        YH   BEA162   X   Fresno, CA                       6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH393   NEXTEL WEST CORP.        YC   BEA163   B   San Francisco-Oakland-San Jose   6/17/2028   817 - 818 / 862 - 863
WPOH394   NEXTEL WEST CORP.        YH   BEA163   X   San Francisco-Oakland-San Jose   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH396   NEXTEL WEST CORP.        YC   BEA164   B   Sacramento-Yolo, CA              6/17/2028   817 - 818 / 862 - 863
WPOH397   NEXTEL WEST CORP.        YH   BEA164   X   Sacramento-Yolo, CA              6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH398   NEXTEL WEST CORP.        YC   BEA165   B   Redding, CA-OR                   6/17/2028   817 - 818 / 862 - 863
WPOH399   NEXTEL WEST CORP.        YH   BEA165   X   Redding, CA-OR                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH400   NEXTEL WEST CORP.        YC   BEA166   B   Eugene-Springfield, OR-CA        6/17/2028   817 - 818 / 862 - 863
WPOH401   NEXTEL WEST CORP.        YH   BEA166   X   Eugene-Springfield, OR-CA        6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH403   NEXTEL WEST CORP.        YC   BEA167   B   Portland-Salem, OR-WA            6/17/2028   817 - 818 / 862 - 863
WPOH404   NEXTEL WEST CORP.        YH   BEA167   X   Portland-Salem, OR-WA            6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH433   NEXTEL WEST CORP.        YC   BEA168   B   Pendleton, OR-WA                 6/17/2028   817 - 818 / 862 - 863
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WPOH405   NEXTEL WEST CORP.                  YH   BEA168   X   Pendleton, OR-WA                6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH406   NEXTEL WEST CORP.                  YC   BEA169   B   Richland-Kennewick-Pasco, WA    6/17/2028   817 - 818 / 862 - 863
WPOH407   NEXTEL WEST CORP.                  YH   BEA169   X   Richland-Kennewick-Pasco, WA    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH409   NEXTEL WEST CORP.                  YC   BEA170   B   Seattle-Tacoma-Bremerton, WA    6/17/2028   817 - 818 / 862 - 863
WPOH410   NEXTEL WEST CORP.                  YH   BEA170   X   Seattle-Tacoma-Bremerton, WA    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPOH412   NEXTEL WEST CORP.                  YC   BEA171   B   Anchorage, AK                   6/17/2028   817 - 818 / 862 - 863
WPOH413   NEXTEL WEST CORP.                  YH   BEA171   X   Anchorage, AK                   6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPLM204   NEXTEL WEST CORP.                  YC   BEA172   B   Honolulu, HI                    3/10/2028   817 - 818 / 862 - 863
WPOH414   NEXTEL WEST CORP.                  YH   BEA172   X   Honolulu, HI                    6/17/2028   818 - 821 / 863 - 866 / 821 - 824 / 866 - 869
WPRQ760   Nextel of Puerto Rico, Inc.        YC   BEA174   X   Puerto Rico & Virgin Isl.      12/20/2020   - / - / 821.575 - 824 / 866.575 - 869
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800 MHz Site-based License Holdings next to Canadian Border area designed to use contours to preserve capability inside Canadian
Border area and preclude expansion from existing licensees inside and outside the Canadian Border area
                                                                                                                             Number of
                                                                                                                              Discreet
                                                           Radio                                                            Frequencies
                                                          Service                                               Transmitter Above 862.0   Expiration
 Call Sign                     Licensee                    Code      Transmitter City      Transmitter County      State       MHz           Date
WQXZ925      NEXTEL COMMUNICATIONS OF THE MID ATLANTIC,     YM SOUTH PORTLAND            CUMBERLAND                 ME          160       7/26/2026
             INC.
WQXZ929      NEXTEL WEST CORP.                             YM    DRESDEN                 MUSKINGUM                 OH          160        7/26/2026
WQXZ930      NEXTEL WEST CORP.                             YM    UPPER ARLINGTON         FRANKLIN                  OH          160        7/26/2026
WQYF361      NEXTEL WEST CORP.                             YM    ORISKANY                ONEIDA                    NY          160         9/8/2026
WQYG555      NEXTEL WEST CORP.                             YM    KALAMA                  COWLITZ                   WA          160        9/21/2026
WQYG556      NEXTEL WEST CORP.                             YM    OUTLOOK                 YAKIMA                    WA          160        9/21/2026
WQYG557      NEXTEL WEST CORP.                             YM    EPHRATA                 GRANT                     WA          160        9/21/2026
WQYT997      NEXTEL WEST CORP.                             YM    LEONIDAS                ST. JOSEPH                MI          160        1/19/2027
WQYU236      NEXTEL WEST CORP.                             YM    FOWLER                  CLINTON                   MI          160        1/20/2027
WQYV719      NEXTEL WEST CORP.                             YM    COTTON                  ST. LOUIS                 MN          160         2/6/2027
WQYV720      NEXTEL WEST CORP.                             YM    HIBBING                 ST. LOUIS                 MN          160         2/6/2027
WQYV722      NEXTEL WEST CORP.                             YM    BEMIDJI                 BELTRAMI                  MN          160         2/6/2027
WQZS657      NEXTEL WEST CORP.                             YM    CAMPBELL                STEUBEN                   NY          160        7/24/2027
WQZS659      NEXTEL WEST CORP.                             YM    SPENCERVILLE            ALLEN                     IN          160        7/24/2027
WQZS660      NEXTEL WEST CORP.                             YM    JACKSON CENTER          SHELBY                    OH          160        7/24/2027
WQZS661      NEXTEL WEST CORP.                             YM    EAST PALESTINE          COLUMBIANA                OH          160        7/24/2027
WQZS662      NEXTEL WEST CORP.                             YM    UHRICHSVILLE            TUSCARAWAS                OH          160        7/24/2027
WRAA475      NEXTEL WEST CORP.                             YM    CONVOY                  VAN WERT                  OH          160        9/22/2027
WRAN278      NEXTEL WEST CORP.                             YM    TRAVERSE CITY           GRAND TRAVERSE            MI          160        1/11/2028
WRBR754      NEXTEL WEST CORP.                             YM    HOOD RIVER              HOOD RIVER                OR          160        5/31/2028
WRBV827      NEXTEL WEST CORP.                             YM    HIGGINGS LAKE           ROSCOMMON                 MI          160         7/3/2028
WRBV828      NEXTEL WEST CORP.                             YM    GREAT FALLS             CASCADE                   MT          160         7/3/2028
WRBV829      NEXTEL WEST CORP.                             YM    DEER PARK               SPOKANE                   WA          160         7/3/2028
WRBV830      NEXTEL WEST CORP.                             YM    MT. PLEASANT            ISABELLA                  MI          160         7/3/2028
WRBV831      NEXTEL WEST CORP.                             YM    COLEMAN                 MIDLAND                   MI          160         7/3/2028
WRBV855      NEXTEL WEST CORP.                             YM    CORTLAND                CORTLAND                  NY          160         7/3/2028
WRBV857      NEXTEL WEST CORP.                             YM    HOOD RIVER              HOOD RIVER                OR          160         7/3/2028
WRBV861      NEXTEL COMMUNICATIONS OF THE MID ATLANTIC,    YM    SOUTH ROYALTON          WINDSOR                   VT          160         7/3/2028
             INC.
WRBV862      NEXTEL WEST CORP.                             YM    GLOVERSVILLE            FULTON                    NY          160        7/3/2028
WRBV864      NEXTEL WEST CORP.                             YM    RIDGEWAY                ELK                       PA          160        7/3/2028
WRBV870      NEXTEL WEST CORP.                             YM    RIDGEWAY                ELK                       PA          160        7/3/2028
WRBV873      NEXTEL COMMUNICATIONS OF THE MID ATLANTIC,    YM    BIDDEFORD               YORK                      ME          160        7/3/2028
             INC.
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WRBV875   NEXTEL WEST CORP.                            YM   NEW HAVEN           ADDISON          VT   160    7/3/2028
WRBV876   NEXTEL WEST CORP.                            YM   SCHROON LAKE        ESSEX            NY   160   7/3/2028
WRBX774   NEXTEL WEST CORP.                            YM   ATHOL               BONNER           ID   160   7/19/2028
WRBX833   NEXTEL COMMUNICATIONS OF THE MID ATLANTIC,   YM   ELLSWORTH           HANCOCK          ME   155   7/19/2028
          INC.
WRCA788   NEXTEL WEST CORP.                            YM   HARRISON TOWNSHIP   LICKING          OH   160   8/13/2028
WRCA793   NEXTEL WEST CORP.                            YM   MALVERN             CARROLL          OH   160   8/13/2028
WRCA794   NEXTEL COMMUNICATIONS OF THE MID ATLANTIC,   YM   CLINTONVILLE        VENANGO          PA   160   8/13/2028
          INC.
WRCL354   NEXTEL WEST CORP.                            YM   LAKE ODESSA         BARRY            MI   160   10/30/2028
